Exhibit 1
Return Date: No return date scheduled
                                                     12-Person Jury
Hearing Date: 7/18/2019 10:00 AM -10:00 AM
Courtroom Number: 2302
                                                                                                  FILED
Location: District 1 Court
                                                                                                  3120/2019 12:54 PM
         Cook County, IL
                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         DOROTHY BROWN
                                                                                                  CIRCUIT CLERK
                                COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                  COOK COUNTY, IL
                                                                                                  2019CH03620
            RAVEN FOX, individually, and on behalf of all )
            others similarly situated,                    )
                                                                 )
                                   Plaintiff,                    )
                                                                 )     Case No.     2019CH03620
                    v.                                           )
                                                                 )
            DAKKOTA INTEGRATED SYSTEMS, LLC                      )     JURY TRIAL DEMANDED
                                                                 )
                                   Defendant.                    )


                                             CLASS ACTION COMPLAINT

                    Plaintiff Raven Fox ("Plaintiff' or "Fox"), by and through her attorneys, individually and

            on behalf of all others similarly situated (the "Class"), brings the following Class Action Complaint

            pursuant to the Illinois Code of Civil Procedure 735 ILCS §§ 5/2-80 I and 2-802, against Dakkota

            Integrated Systems, LLC ("Dakkota" or "Defendant"), their subsidiaries and affiliates, to redress

            and curtail Defendant's unlawful collection, use, storage, and disclosure of Plaintiffs sensitive

            and proprietary biometric data. Plaintiff alleges as follows upon personal knowledge as to herself,

            her own acts and experiences and, as to all other matters, upon information and belief, including

            investigation conducted by her attorneys.

                                                NATURE OF THE ACTION

                    I.     Defendant Dakkota is an automotive supplier that manages the assembly and

            sequencing of integrated automotive interiors for original equipment manufacturers. Dakkota has

             locations throughout the Midwest, including a location in Chicago.
       2.      When Dakkota hires an employee, her or she is enrolled in its third-party employee

database(s). Dakkota uses the employee database to monitor the time worked by Dakkota's hourly

employees.

       3.      While many employers use conventional methods for tracking time worked (such

as ID badge swipes or punch clocks), Dakkota employees are required to have their hand geometry

scanned by biometric timekeeping device.

       4.      Biometrics are not relegated to esoteric comers of commerce. Many businesses -

such as Defendant's- and financial institutions have incorporated biometric applications into their

workplace in the form of biometric timeclocks, and into consumer products, including such

ubiquitous consumer products as checking accounts and cell phones.

       5.      Unlike lD badges or time cards- which can be changed or replaced if stolen or

compromised- one's hand geometry is a set of unique, permanent biometric identifiers associated

with each employee. This exposes Dakkota' s employees to serious and irreversible privacy risks.

For example, if a database containing hand geometry scans or other sensitive, proprietary biometric

data is hacked, breached, or otherwise exposed- like in the recent Yahoo, eBay, Equifax, Uber,

Home Depot, MyFitnessPal, Panera, Whole Foods, Chipotle, Omni Hotels & Resorts, Trump

Hotels, and Facebook!Cambridge Analytica data breaches or misuses- employees have!!!!. means

by which to prevent identity theft, unauthorized tracking or other unlawful or improper use of this

highly personal and private information.

       6.      In 2015, a data breach at the United States Office of Personnel Management

exposed the personal identification information, including biometric data, of over 21.5 million

federal employees, contractors, and job applicants. U.S. Off. of Personnel Mgmt., Cybersecurity

Incidents (2018), available at https://www.opm.gov/cvbersecuritv/cybersecurity-incidents.



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           7.      A black market already exists for biometric data. Hackers and identity thieves have

    targeted Aadhaar, the largest biometric database in the world, which contains the personal and

    biometric data- including fingerprints, iris scans, and a facial photograph- of over a billion Indian
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    citizens. See Vidhi Doshi, A Security Breach in India Has Left a Billion People at Risk of Identity

    Theft, The Washington Post (Jan. 4, 2018), available at https://www.washingtonpost.com/news/

    worldviews/wp/20 18/0 1/04/a-security-breach-in-india -has-left-a-billion-people-at-risk-of-

    identity-theftl?utm_term= .b3c70259fl3 8.

           8.      In January 2018, an Indian newspaper reported that the information housed in

    Aadhaar was available for purchase for less than $8 and in as little as I 0 minutes. Rachna Khaira,

    Rs 500, I 0 Minutes, and You Have Access to Billion Aadhaar Details, The Tribune (Jan. 4, 20 18),

    available at http://www. tribuneindia.corn!news/nation/rs-500-1 0-minutes-and-you-have-access-

    to-billion-aadhaar-details/52336l.html.

           9.      Recognizing the need to protect its citizens from situations like these, Illinois

    enacted the Biometric Information Privacy Act ("BIPA"), 740 ILCS 14/1, et seq., specifically to

    regulate companies that collect and store Illinois citizens' biometrics, such as hand geometry.

           I 0.    Notwithstanding the clear and unequivocal requirements of the law, Defendant

    disregards Dakkota employees' statutorily protected privacy rights and unlawfully collects, stores,

    disseminates, and uses employees' biometric data in violation of BIPA. Specifically, Defendant

    has violated and continue to violate BIPA because they did not and continue not to:

                   A.      Properly inform Plaintiff and others similarly situated in writing of the
                   specific purpose and length of time for which their hand geometry scans were being
                   collected, stored, disseminated, and used, as required by BIPA;

                   B.    Provide a publicly available retention schedule and guidelines for
                   permanently destroying Plaintiffs and other similarly-situated individuals' hand
                   geometry scans, as required by BIPA;



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                C.      Receive a written release from Plaintiff and others similarly situated to
                collect, store, disseminate or otherwise use their hand geometry scans, as required
                by BIPA; and,

                D.      Obtain consent from Plaintiff and others similarly situated to disclose,
                redisclose, or otherwise disseminate their fingerprints to a third party as required
                byBIPA.

        II.     Accordingly, Plaintiff seeks an Order: (I) declaring that Defendant's conduct

violates BIPA; (2) requiring Defendant to cease the unlawful activities discussed herein; and (3)

awarding liquidated damages to Plaintiff and the proposed class.

                                                  PARTIES

        12.     Plaintiff Raven Fox is a natural person and a citizen of the State of Illinois.

        13.     Defendant Dakkota Integrated Systems, LLC, is a limited liability company

existing under the laws of the State of Michigan, with its principal place of business in Holt,

Michigan. Dakkota is registered with the Illinois Secretary of State and conducts business in the

State of Illinois, including Cook County.

                                      JURISDICTION AND VENUE

        14.     This Court has jurisdiction over Defendant pursuant to 735 ILCS § 5/2-209 because

Defendant conducts business transactions in Illinois, committed statutory violations and tortious

acts in Illinois, and are registered to conduct business in Illinois.

       15.      Venue is proper in Cook County because Defendant is authorized to conduct

business in this State, Defendant conducts business transactions in Cook County, and Defendant

committed the statutory violations alleged herein in Cook County and throughout Illinois.




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                                      FACTUAL BACKGROUND

  I.    The Biometric Information Privacy Act

        16.      In the early 2000s, major national corporations started using Chicago and other

locations in Illinois to test "new applications of biometric-facilitated financial transactions,

including finger-scan technologies at grocery stores, gas stations, and school cafeterias." 740 ILCS

§ 14/5(c). Given its relative infancy, an overwhelming portion of the public became wary of this

then-growing yet unregulated technology. See 740 ILCS § 14/5.

        17.      In late 2007, a biometrics company called Pay by Touch, which provided major

retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer

transactions, filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature because

suddenly there was a serious risk that millions of fingerprint records - which, like other unique

biometric identifiers, can be linked to people's sensitive financial and personal data- could now

be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate

protections for Illinois citizens. The bankruptcy also highlighted the fact that most consumers who

used the company's fingerprint scanners were completely unaware that the scanners were not

actually transmitting fingerprint data to the retailer who deployed the scanner, but rather to the

now-bankrupt company, and that their unique biometric identifiers could now be sold to unknown

third parties.

        18.      Recognizing the "very serious need [for] protections for the citizens of Illinois

when it [came to their] biometric information," Illinois enacted BIPA in 2008. See Illinois House

Transcript, 2008 Reg. Sess. No. 276; 740 ILCS § 14/5.

        19.      Additionally, to ensure compliance, BIPA provides that, for each violation, the

prevailing party may recover $1,000 or actual damages, whichever is greater, for negligent



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violations and $5,000, or actual damages, whichever is greater, for intentional or reckless

violations. 740 ILCS 14/20.

            20.      BIPA is an informed consent statute which achieves its goal by making it unlawful

for a company to, among other things, collect, capture, purchase, receive through trade, or

otherwise obtain a person's or a customer's biometric identifiers or biometric information, unless

it first:

                  a. Informs the subject in writing that a biometric identifier or biometric information
                     is being collected, stored and used;

                  b. Informs the subject in writing of the specific purpose and length of term for which
                     a biometric identifier or biometric information is being collected, stored, and used;
                     and

                  c. Receives a written release executed by the subject of the biometric identifier or
                     biometric information.

See 740 ILCS § 14/lS(b).

            21.      BIPA specifically applies to employees who work in the State of Illinois. BIPA

defines a "written release" specifically "in the context of employment [as] a release executed by

an employee as a condition of employment." 740 ILCS 14/10.

            22.      Biometric identifiers include retina and iris scans, voiceprints, fingerprints, and-

most importantly here- scans of hand geometry. See 740 ILCS § 14/10. Biometric information

is separately defined to include any information based on an individual's biometric identifier that

is used to identify an individual. !d.

            23.      BIPA also establishes standards for how companies must handle Illinois citizens'

biometric identifiers and biometric information. See, e.g., 740 ILCS § 14/IS(c)-(d). For example,

BIPA prohibits private entities from disclosing a person's or customer's biometric identifier or




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     biometric information without first obtaining consent for such disclosure. See 740 ILCS §

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~            24.     BIPA also prohibits selling, leasing, trading, or otherwise profiting from a person's
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     biometric identifiers or biometric information (740 ILCS § 14/lS(c)) and requires companies to

     develop and comply with a written policy- made available to the public- establishing a retention

     schedule and guidelines for permanently destroying biometric identifiers and biometric

     information when the initial purpose for collecting such identifiers or information has been

     satisfied or within three years of the individual's last interaction with the company, whichever

     occurs first. 740 ILCS § 14/lS(a).

             25.    The Illinois legislature enacted BIPA due to the increasing use of biometric data in

     financial and security settings, the general public's hesitation to use biometric information, and -

     most significantly - the unknown ramifications of biometric technology. Biometrics are

     biologically unique to the individual and, once compromised, an individual is at heightened risk

     for identity theft and left without any recourse.

            26.     BIPA provides individuals with a private right of action, protecting their right to

     privacy regarding their biometrics as well as protecting their rights to know the precise nature for

     which their biometrics are used and how they are being stored and ultimately destroyed. Unlike

     other statutes that only create a right of action if there is a qualifying data breach, BIPA strictly

     regulates the manner in which entities may collect, store, use, and disseminate biometrics and

     creates a private right of action for lack of statutory compliance.

            27.     Plaintiff, like the Illinois legislature, recognizes how imperative it is to keep

     biometric information secure. Biometric information, unlike other personal identifiers such as a

     social security number, cannot be changed or replaced if hacked or stolen.



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 II.    Defendant Violates the Biometric Information Privacy Act.

        28.      By the time BIPA passed through the Illinois legislature in mid-2008, most

companies who had experimented with using individuals' biometric data stopped doing so.

       29.       However, Defendant failed to take note of the shift in Illinois law governing the

collection, use and dissemination of biometric data. As a result, Defendant continues to collect,

store, use and disseminate individuals' biometric data in violation ofBIPA.

       30.       Specifically, when employees are hired by Defendants, they are required to have

their hands scanned to enroll them in their employee database(s).

       31.       Defendant uses and has used employee software supplied by a third party that

requires employees to use their hand geometry as a means of authentication. Per the company's

policy, all of Defendant's hourly employees are required to use their hand geometry to clock-in

and clock-out for attendance.

       32.       Upon information and belief, Defendant failed and continues to fail to inform their

employees that it discloses or disclosed their hand geometry data to at least one out-of-state third-

party vendor, and likely others; fail to inform their employees that it discloses their hand geometry

data to other, currently unknown, third parties, which host the biometric data in their data centers;

fail to inform their employees of the purposes and duration for which they collects their sensitive

biometric data; and fail to obtain written releases from employees before collecting their hand

geometry data.

       33.       Furthermore, Defendant fails to provide employees with a written, publicly

available policy identifying their retention schedule and guidelines for permanently destroying

employees' hand geometry data when the initial purpose for collecting or obtaining their hand

geometry data is no longer relevant, as required by BIPA.



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             34.    The Pay by Touch bankruptcy that catalyzed the passage of BIPA highlights why

0    such conduct- where individuals are aware that they are providing biometric information but not
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al   aware to whom or for what purposes they are doing so - is dangerous. That bankruptcy spurred
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     Illinois citizens and legislators into realizing that it is crucial for individuals to understand when

     providing biometric identifiers, such as their hand geometry, who exactly is collecting their

     biometric data, where it will be transmitted and for what purposes, and for how long. Defendant

     disregards these obligations and Defendant's employees' statutory rights and instead unlawfully

     collects, stores, uses and disseminates Defendant's employees' biometric identifiers and

     information, without ever receiving the individual's informed written consent required by BIPA.

            35.     Upon information and belief, Defendant lacks retention schedules and guidelines

     for permanently destroying Plaintiffs and other similarly-situated individuals' biometric data and

     have not and will not destroy Plaintiffs and other similarly-situated individuals' biometric data

     when the initial purpose for collecting or obtaining such data has been satisfied or within three

     years of the individual's last interaction with each company.

            36.     Defendant's employees are not told what might happen to their biometric data if

     and when Defendant merges with another company or worse, if and when Defendant's business

     folds, or when the other third parties that have received their biometric data businesses fold.

            37.     Since Defendant neither publishes a BIPA-mandated data-retention policy nor

     discloses the purposes for their collection and use of biometric data, Dakkota' s employees have

     no idea to whom Defendant sells, discloses, re-discloses, or otherwise disseminates their biometric

     data. Nor are Plaintiff and the putative Class told to whom Defendant currently discloses their

     biometric data, or what might happen to their biometric data in the event of a merger or a

     bankruptcy.



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        38.     These violations have raised a material risk that Plaintiff's and other similarly-

situated individuals' biometric data will be unlawfully accessed by third parties.

        39.     By and through the actions detailed above, Defendant disregards Plaintiff's and

other similarly-situated individuals' legal rights in violation ofBIPA.

III.    Plaintiff Raven Fox's Experience

        40.     Plaintiff Raven Fox worked for Dakkota Integrated Systems as a Team Lead from

February 2012 until January 28,2019 at 12525 S. CarondoletAvenue, Chicago, Illinois, 60633.

        41.     As a condition of employment with Dakkota, Plaintiff was required to scan her

hand so that Defendant could use it as an authorization method to track her time. Plaintiff began

scanning her hand when it was installed approximately three years ago, in 2016.

        42.     Defendant subsequently stored Plaintiffs hand geometry data in its employee

database( s).

        43.     Plaintiff was required to scan her hand each time she clocked in for work and each

time she clocked out of work.

        44.     Plaintiff has never been informed of the specific limited purposes or length of time

for which Defendant collected, stored, used, and/or disseminated her biometric data.

        45.     Plaintiff has never been informed of any biometric data retention policy developed

by Defendant, nor has she ever been informed of whether Dakkota will ever permanently delete

her biometric data.

        46.     Plaintiff has never been provided with nor ever signed a written release allowing

Dakkota to collect, store, use, or disseminate her biometric data.

        4 7.    Plaintiff has continuously and repeatedly been exposed to the risks and harmful

conditions created by Defendant's multiple violations ofBIPA alleged herein.



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             48.     No amount of time or money can compensate Plaintiff if her biometric data is

     compromised by the lax procedures through which Defendant captured, stored, used, and
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5l   disseminated her and other similarly-situated individuals' biometrics. Moreover, Plaintiff would
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     not have provided her biometric data to Defendant if she had known that it would retain such

     information for an indefinite period of time without her consent.

             49.     A showing of actual damages is not necessary in order to state a claim under BIPA.

     See Rosenbach v. Six Flags Ent. Corp., 20 19 IL 123186         'If 40   ("[A ]n individual need not allege

     some actual injury or adverse effect, beyond violation of his or her rights under the Act, in order

     to qualify as an "aggrieved" person and be entitled to seek liquidated damages and injunctive relief

     pursuant to the Act"). Nonetheless, Plaintiff has been aggrieved because she suffered an injury in

     fact based on Defendant's violations of her legal rights. Defendant intentionally interfered with

     Plaintiffs right to possess and control her own sensitive biometric data. Additionally, Plaintiff

     suffered an invasion of a legally protected interest when Defendant secured her personal and

     private biometric data at a time when they had no right to do so, a gross invasion of her right to

     privacy. BIP A protects employees like Ms. Fox from this precise conduct. Defendant had no lawful

     right to secure this data or share it with third parties, absent a specific legislative license to do so.

             50.     Plaintiffs biometric information is economically valuable, and such value will

     increase as the commercialization of biometrics continues to grow. As such, Plaintiff was not

     sufficiently compensated by Defendant for its retention and use of her and other similarly situated

     employees' biometric data. Plaintiff would not have agreed to work for Defendant for the

     compensation she received if she had known that Defendant would retain her biometric data

     indefinitely.




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        51.    Plaintiff also suffered an informational injury because Defendant failed to provide

her with information to which she was entitled by statute. Through BIP A, the Illinois legislature

has created a right - an employee's right to receive certain information prior to an employer

securing their highly personal, private and proprietary biometric data- and an injury: not receiving

this extremely critical information.

       52.     Plaintiff also suffered an injury in fact because Defendant improperly disseminated

her biometric identifiers and/or biometric information to third parties that hosted the biometric

data in their data centers, in violation of BIPA.

       53.     Pursuant to 740 ILCS 14/ 15(b), Plaintiff was entitled to receive certain information

prior to Defendant securing her biometric data; namely, information advising her of the specific

limited purpose(s) and length oftime for which Defendant collects, stores, uses, and disseminates

her private biometric data; information regarding Defendant's biometric information retention

policy; and, a written release allowing Defendant to collect, store, use, and disseminate her private

biometric data. By depriving Plaintiff of this information, Defendant injured her. Public Citizen v.

U.S. Department ofJustice, 491 U.S. 440, 449 (1989); Federal Election Commission v. Akins, 524

U.S. II (1998).

       54.     Plaintiff has plausibly inferred actual and ongoing harm in the form of monetary

damages for the value of the collection and retention of her biometric data; in the form of monetary

damages by not obtaining additional compensation as a result of being denied access to material

information about Defendant's policies and practices; in the form of the unauthorized disclosure

of her confidential biometric data to third parties; in the form of interference with her right to

control and possess her confidential biometric data; and, in the form of the continuous and ongoing

exposure to substantial and irreversible loss of privacy.



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           55.      As Plaintiff is not required to allege or prove actual damages in order to state a

    claim under BIPA, she seeks statutory damages under BIP A as compensation for the injuries

    caused by Defendant. Rosenbach, 2019 IL 123186, ~ 40.
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                                        CLASS ALLEGATIONS

           56.      Pursuant to the Illinois Code of Civil Procedure, 735 ILCS 5/2-80 I, Plaintiff brings

    claims on her own behalf and as a representative of all other similarly-situated individuals pursuant

    to BIPA, 740 ILCS § 14/1, et seq., to recover statutory penalties, prejudgment interest, attorneys'

    fees and costs, and other damages owed.

           57.      As discussed supra, Section 14/15(b) ofBIPA prohibits a company from, among

    other things, collecting, capturing, purchasing, receiving through trade, or otherwise obtaining a

    person's or a customer's biometric identifiers or biometric information, unless it first (I) informs

    the individual in writing that a biometric identifier or biometric information is being collected or

    stored; (2) informs the individual in writing of the specific purpose and length of time for which a

    biometric identifier or biometric information is being collected, stored, and used; and (3) receives

    a written release executed by the subject of the biometric identifier or biometric information. 740

    ILCS § 14/15.

           58.      Plaintiff seeks class certification under the Illinois Code of Civil Procedure, 735

    ILCS § 5/2-80 I, for the following class of similarly-situated individuals under BIPA:

           All individuals working for Dakkota Integrated Systems in the State of Illinois who
           had their hand geometry collected, captured, received, obtained, maintained, stored
           or disclosed by Defendant during the applicable statutory period.

           59.      This action is properly maintained as a class action under 735 ILCS § 5/2-801

    because:

                    A.     This class is properly maintained as a class action under 735 ILCS § 5/2-
                           80 I because: The class is so numerous that joinder of all members is
                           impracticable;
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               B.      There are questions of law or fact that are common to the class;

               c.      The claims of the Plaintiff are typical of the claims of the class; and,

               D.      The Plaintiff will fairly and adequately protect the interests of the class.

                                            Numerosity

       60.     The total number of putative class members exceeds fifty (50) individuals. The

exact number of class members can easily be determined from Dakkota' s payroll records.

                                           Commonality

       61.     There is a well-defined commonality of interest in the substantial questions of law

and fact concerning and affecting the Class in that Plaintiff and all members of the Class have been

harmed by Defendant's failure to comply with BIPA. The common questions of law and fact

include, but are not limited to the following:

               A.      Whether Defendant collected, captured, or otherwise obtained Plaintiff's
                       biometric identifiers or biometric information;

               B.      Whether Defendant properly informed Plaintiff of its purposes for
                       collecting, using, and storing their biometric identifiers or biometric
                       information;

               C.      Whether Defendant obtained a written release (as defined in 740 ILCS
                       14/10) to collect, use, and store Plaintiff's biometric identifiers or biometric
                       information;

               D.      Whether Defendant disclosed or re-disclosed Plaintiff's biometric
                       identifiers or biometric information;

               E.      Whether Defendant sold, leased, traded, or otherwise profited from
                       Plaintiff's biometric identifiers or biometric information;

               F.      Whether Defendant developed a written policy, made available to the
                       public, establishing a retention schedule and guidelines for permanently
                       destroying biometric identifiers and biometric information when the initial
                       purposes for collecting or obtaining such identifiers or information has been
                       satisfied or within three years of its last interaction with the individual,
                       whichever occurs first;


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               G.      Whether Defendant complies with any such written policy, if one exists;

               H.      Whether Defendant used Plaintiffs hand geometry to identify them;

               I.      Whether Defendant's violations of BIPA have raised a material risk that
                       Plaintiff's biometric data will be unlawfully accessed by third parties;

               J.      Whether the violations of BIPA were committed negligently; and

               K.      Whether the violations ofBIPA were committed recklessly or intentionally.

        62.    Plaintiff anticipates that Defendant will raise defenses that are common to the class.

                                                 Adequacy

       63.     Plaintiff will fairly and adequately protect the interests of all members of the class,

and there are no known conflicts of interest between Plaintiff and class members. Plaintiff,

moreover, has retained experienced counsel who are competent in the prosecution of complex

litigation and who have extensive experience acting as class counsel.

                                                Typicalitv

       64.     The claims asserted by Plaintiff are typical of the class members she seeks to

represent. Plaintiff has the same interests and suffers from the same unlawful practices as the class

members.

       65.     Upon information and belief, there are no other class members who have an interest

individually controlling the prosecution of her or her individual claims, especially in light of the

relatively small value of each claim and the difficulties involved in bringing individual litigation

against one's employer. However, if any such class member should become known, he or she can

"opt out" of this action pursuant to Rule 23(b)(3).

                                     Predominance and Superiority

       66.     The common questions identified above predominate over any individual issues,

which will relate solely to the quantum of relief due to individual class members. A class action


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        is superior to other available means for the fair and efficient adjudication of this controversy

        because individual joinder of the parties is impracticable. Class action treatment will allow a large

        number of similarly-situated persons to prosecute their common claims in a single forum

::;     simultaneously, efficiently and without the unnecessary duplication of effort and expense if these
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ii      claims were brought individually. Moreover, as the damages suffered by each class member are
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I       relatively small in the sense pertinent to class action analysis, the expenses and burden of


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        individual litigation would make it difficult for individual class members to vindicate their claims.

w              67.      Additionally, important public interests will be served by addressing the matter as
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        a class action. The cost to the court system and the public for the adjudication of individual

        litigation and claims would be substantially more than if claims are treated as a class action.

        Prosecution of separate actions by individual class members would create a risk of inconsistent

        and varying adjudications, establish incompatible standards of conduct for Defendant and/or

        substantially impair or impede the ability of class members to protect their interests. The issues in

        this action can be decided by means of common, class-wide proof. In addition, if appropriate, the

        Court can and is empowered to fashion methods to efficiently manage this action as a class action.

                                            FIRST CAUSE OF ACTION
                     Violation of740 ILCS § 14/lS(a): Failure to Institute, Maintain and Adhere to
                                        Publicly-Available Retention Schedule

               68.      Plaintiff incorporates the foregoing allegations as if set forth fully herein.

               69.      BIPA mandates that companies in possession of biometric data establish and

        maintain a satisfactory biometric data retention- and, importantly, deletion- policy. Specifically,

        those companies must: (i) make publicly available a written policy establishing a retention

        schedule and guidelines for permanent deletion of biometric data (at most three years after the

        company's last interaction with the individual); and (ii) actually adhere to that retention schedule



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and actually delete the biometric information. See 740 ILCS § 14/15(a).

        70.     Defendant fails to comply with these BIPA mandates.

        71.     Defendant Dakkota Integrated Systems is a Michigan limited liability company

registered to do business in Illinois and thus qualifies as a "private entity" under BIPA. See 740

ILCS § 14/10.

        72.     Plaintiff and the Class are individuals who have had their "biometric identifiers"

collected by Dakkota Integrated Systems (in the form of hand geometry data), as explained in

detail in Sections II and III, supra. See 740 ILCS § 14/10.

        73.     Plaintiffs and the Class's biometric identifiers were used to identify them and,

therefore, constitute "biometric information" as defined by BIPA. See 740 ILCS § 14/10.

        74.     Defendant failed to provide a publicly available retention schedule or guidelines

for permanently destroying biometric identifiers and biometric information as specified by BIPA.

See 740 ILCS § 14/15(a).

       75.      Upon information and belief, Defendant lacks retention schedules and guidelines

for permanently destroying Plaintiffs and the Class's biometric data and has not and will not

destroy Plaintiffs and the Class's biometric data when the initial purpose for collecting or

obtaining such data has been satisfied or within three years of the individual's last interaction with

the company.

       76.      On behalf of herself and the Class, Plaintiff seeks: (I) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by

requiring Defendant to comply with BIPA's requirements for the collection, storage, and use of

biometric identifiers and biometric information as described herein; (3) statutory damages of

$5,000 for each willful and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or, in



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the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to 740

ILCS 14/20(1); and (4) reasonable attorneys' fees and costs and other litigation expenses pursuant

to 740 ILCS 14/20(3).

                             SECOND CAUSE OF ACTION
Violation of 740 ILCS § 14/lS(b): Failure to Obtain Informed Written Consent and Release
                   Before Obtaining Biometric Identifiers or Information

        77.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        78.     BIPA requires companies to obtain informed written consent from employees

before acquiring their biometric data. Specifically, BIPA makes it unlawful for any private entity

to "collect, capture, purchase, receive through trade, or otherwise obtain a person's or a customer's

biometric identifiers or biometric information unless [the entity] first: (1) informs the subject ... in

writing that a biometric identifier or biometric information is being collected or stored; (2) informs

the subject ... in writing of the specific purpose and length of term for which a biometric identifier

or biometric information is being collected, stored, and used; and (3) receives a written release

executed by the subject of the biometric identifier or biometric information ... " 740 ILCS 14/15(b)

(emphasis added).

        79.     Defendant fails to comply with these BIPA mandates.

        80.     Defendant Dakkota Integrated Systems is a Michigan limited liability company

registered to do business in Illinois and thus qualifies as a "private entity" under BIPA. See 740

ILCS § 14/10.

        81.     Plaintiff and the Class are individuals who have had their "biometric identifiers"

collected by Dakkota Integrated Systems (in the form of hand geometry), as explained in detail in

Sections II and III, supra. See 740 ILCS § 14/10.

        82.     Plaintiff's and the Class's biometric identifiers were used to identify them and,



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therefore, constitute "biometric information" as defined by BIPA. See 740 ILCS § 14/10.

        83.    Defendant systematically and automatically collected, used, and stored Plaintiffs

biometric identifiers and/or biometric information without first obtaining the written release

required by 740 ILCS 14/15(b)(3).

       84.     Defendant did not inform Plaintiff in writing that their biometric identifiers and/or

biometric information were being collected, stored, and used, nor did Defendant inform Plaintiff

in writing of the specific purpose and length of term for which her biometric identifiers and/or

biometric information were being collected, stored, and used as required by 740 ILCS 14/15(b)(I)-

(2).

       85.     By collecting, storing, and using Plaintiffs and the Class's biometric identifiers

and biometric information as described herein, Defendant violated Plaintiff's and the Class's rights

to privacy in their biometric identifiers or biometric information as set forth in BIPA. See 740

ILCS 14/1, et seq.

       86.     On behalf of himself and the Class, Plaintiff seeks: (I) declaratory relief; (2)

injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by

requiring Defendant to comply with BIPA's requirements for the collection, storage, and use of

biometric identifiers and biometric information as described herein; (3) statutory damages of

$5,000 for each willful and/or reckless violation ofBIPA pursuant to 740 ILCS 14/20(2) or, in the

alternative, statutory damages of$! ,000 for each negligent violation ofBIPA pursuant to 740 ILCS

14/20(1); and (4) reasonable attorneys' fees and costs and other litigation expenses pursuantto 740

ILCS 14/20(3).




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                             THIRD CAUSE OF ACTION
   Violation of740 ILCS § 14/lS(d): Disclosure of Biometric Identifiers and Information
                               Before Obtaining Consent

        87.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        88.     BIPA prohibits private entities from disclosing a person's or customer's biometric

identifier or biometric information without first obtaining consent for that disclosure. See 740

ILCS 14/IS(d)(l).

        89.     Defendant fails to comply with this BIPA mandate.

        90.     Defendant Dakkota Integrated Systems is a Michigan limited liability company

registered to do business in Illinois and thus qualifies as a "private entity" under BIPA. See 740

ILCS § 14/10.

        91.     Plaintiff and the Class are individuals who have had their "biometric identifiers"

collected by Dakkota Integrated Systems (in the form of hand geometry), as explained in detail in

Sections II and III, supra. See 740 ILCS § 14/10.

       92.      Plaintiff's and the Class's biometric identifiers were used to identify them and,

therefore, constitute "biometric information" as defined by BIPA. See 740 ILCS § 14110.

        93.     Defendant systematically and automatically collected, used, and stored Plaintiff's

biometric identifiers and/or biometric information without first obtaining the consent required by

740 ILCS 14/JS(d)(J).

        94.     By disclosing, redisclosing, or otherwise disseminating Plaintiffs and the Class's

biometric identifiers and biometric information as described herein, Defendant violated Plaintiff's

and the Class's rights to privacy in their biometric identifiers or biometric information as set forth

in BIPA. See 740 ILCS 14/1, et seq.

       95.      On behalf of herself and the Class, Plaintiff seeks: (I) declaratory relief; (2)



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injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by

requiring Defendant to comply with BIPA's requirements for the collection, storage, use and

dissemination of biometric identifiers and biometric information as described herein; (3) statutory

damages of$5,000 for each reckless violation ofBIPA pursuant to 740 ILCS § 14/20(2) or, in the

alternative, statutory damages of$1 ,000 for each negligent violation ofBIPA pursuant to 740 ILCS

§ 14/20( I); and (4) reasonable attorneys' fees and costs and other litigation expenses pursuant to

740 ILCS § 14/20(3).

                                        PRAYER FOR RELIEF

       Wherefore, Plaintiff Raven Fox respectfully requests that this Court enter an Order:

       A.      Certifying this case as a class action on behalf of the Class defined above,
               appointing Plaintiff Raven Fox as Class Representative, and appoint Stephan
               Zouras, LLP, as Class Counsel;

       B.      Declaring that Defendant's actions, as set forth above, violate BIPA;

       C.      Awarding statutory damages of $5,000 for each reckless violation of BIPA
               pursuant to 740 ILCS § 14/20(2), or in the alternative, statutory damages of$1,000
               for each negligent violation ofBIPA pursuant to 740 ILCS § 14/20(1);

       D.      Declaring that Defendant's actions, as set forth above, were intentional or reckless;

       E.      Awarding injunctive and other equitable relief as is necessary to protect the
               interests of Plaintiff and the Class, including an Order requiring Defendant to
               collect, store, use, and disseminate biometric identifiers and/or biometric
               information in compliance with BIPA;

       F.      Awarding Plaintiff and the Class their reasonable attorneys' fees and costs and
               other litigation expenses pursuant to 740 ILCS § 14/20(3);

       G.      Awarding Plaintiff and the class pre- and post-judgment interest, to the extent
               allowable; and,

       H.      Awarding such other and further relief as equity and justice may require.




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                                          JURY TRIAL

      Plaintiff demands a trial by jury for all issues so triable.

Date: March 20, 2019                                  Respectfully Submitted,

                                                      Is/ Ryan F. Stephan
                                                      Ryan F. Stephan
                                                      James B. Zouras
                                                      Catherine T. Mitchell
                                                      STEPHAN ZOURAS, LLP
                                                       I 00 N. Riverside Plaza
                                                      Suite 2150
                                                      Chicago, Illinois 60606
                                                      312.233.1550
                                                      312.233.1560/
                                                      rstephan@stephanzouras.com
                                                      jzouras@stephanzouras.com
                                                      cmitchell@stephanzouras.com
                                                      Firm ID: 43734

                                                      ATTORNEYS FOR PLAINTIFF




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     Return Date: No return date scheduled
     Hearing Date: 4/8/2019 10:00 AM -10:00 AM
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                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY    BROWN
                                     COUNTY DEPARTMENT, CHANCERY DIVISION      CIRCUIT  CLERK
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o                                                                     )     Hon. Judge Thomas R. Allen
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                                                     NOTICE OF MOTION

                        PLEASE TAKE NOTICE that on Monday. April 8, 2019 at 10:00 a.m. or as soon
                 thereafter as counsel may be heard, I shall appear before the Honorable Judge Thomas R. Allen,
                 or any judge sitting in his stead, in the courtroom usually occupied by him at 50 W. Washington
                 St., Chicago, Illinois, Room 2302, and present PLAINTIFF'S MOTION FOR CLASS
                 CERTIFICATION AND REQUEST FOR DISCOVERY ON CERTIFICATION ISSUES.


                                                                    Respectfully submitted,

                                                                    /s/ Ryan F. Stephan
                                                                    Ryan F. Stephan
                                                                    Attorney for Plaintiff
                                                                    STEPHAN ZOURAS, LLP
                                                                    100 N. Riverside Plaza, Suite 2150
                                                                    Chicago, IL 60606
                                                                    Telephone: 312-233-1550
                                                                    rstephan@stephanzouras.com
                                         CERTIFICATE OF SERVICE
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                I, the attorney, hereby certify that on March 21, 2019,1 filed the attached with the Clerk
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5     of the Court using the electronic filing system which will send such filing to all attorneys of
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              PLAINTIFF'S MOTION FOR CLASS CERTIFICATION AND REQUEST FOR
                           DISCOVERY ON CERTIFICATION ISSUES
                Plaintiff Raven Fox ("Plaintiff) alleges that Defendant Dakkota Integrated Systems, LLC

         ("Dakkota" or "Defendant") systematically violated the Biometric Information Privacy Act

         ("BIPA"), 740 ILCS 14/1 et seq. This case is well suited for class certification pursuant to 735

         ILCS 5/2-801. Specifically, Plaintiff seeks to certify a class consisting of hundreds of former and

         current similarly-situated employees who worked for Dakkota in the State of Illinois who had their

         hand geometry data unlawfully used, stored, and disclosed by Defendant during the applicable

         statutory period in violation of BIPA. The question of liability is a legal question that can be

         answered in one fell swoop. As Plaintiffs claims and the claims of similarly-situated individuals

         all arise from Defendant's uniform policies and practices, they satisfy the requirement of 735 ILCS

         5/2-801 and should be certified.

                Plaintiff moves for class certification to protect members of the proposed class, individuals

         whose proprietary and legally protected personal and private biometric data was invaded by

         Defendant. Plaintiff believes that the evidence and argumentation submitted within this motion are
      sufficient to allow the class to be certified now. However, in the event the court (or Defendant)

8     wishes for the parties to undertake formal discovery prior to the Court's consideration of this
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      motion, Plaintiff requests that the Court allow her to supplement this briefing and defer the
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s     response and reply deadlines.
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Csi                                 I.   RELEVANT BACKGROUND
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cj                A. The Biometric Information Privacy Act
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              Major national corporations started using Chicago and other locations in Illinois in the
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UJ    early 2000s to test "new [consumer] applications of biometric-facilitated financial transactions,
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      including finger-scan technologies at grocery stores, gas stations, and school cafeterias." 740ILCS

      14/5(c). Given its relative infancy, an overwhelming portion of the public became wary of this

      then-growing, yet unregulated, technology. See 740 ILCS 14/5.

             The Biometric Information Privacy Act, 740 ILCS 14/1, et seq. was enacted in 2008,

      arising from concerns that these experimental uses of technologies created a "very serious need of

      protections for the citizens of Illinois when it comes to biometric information." Illinois House

      Transcript, 2008 Reg. Sess. No. 276. Under the Act, it is unlawful for a private entity to, among

      other things, "collect, capture, purchase, receive through trade, or otherwise obtain a person's or a

      customer's biometric identifiers or biometric information unless it first:

                         (1) Informs the subject ... in writing that a biometric identifier or
                             biometric information is being collected or stored;

                         (2) Informs the subject... in writing of the specific purpose and length
                             of term for which a biometric identifier or biometric information is
                             being collected, stored, and used; and

                         (3) Receives a written release executed by the subject of the biometric
                             identifier or biometric information."

      740 ILCS 14/15(b).



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              Although there may be benefits with using biometrics in the workplace, there are also

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      serious risks. Unlike ID badges - which can be changed or replaced if stolen or compromised -
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      hand geometry is a unique, permanent biometric identifier associated with each individual. These
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5     biometrics are biologically unique to the individual; once compromised, the individual has no
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csi   means by which to prevent identity theft, unauthorized tracking, or other unlawful or improper use
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8     of this information. This exposes individuals to serious and irreversible privacy risks. For example.
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h-    if a biometric database is hacked, breached, or otherwise exposed - as in the recent Equifax, Home
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ID    Depot, Google+ and Facebook/Cambridge Analytica data breaches- individuals have no means to
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      prevent the misappropriation and theft of their proprietary biometric makeup. A showing of actual

      damages is not necessary in order to state a claim under BIPA. When an entity "fails to adhere to

      the statutory procedures ... the right of the individual to maintain [his or] her biometric privacy

      vanishes into thin air." Rosenbach v. Six Flags Ent. Corp., 2019 IL 123186, f 34 (internal

      quotations omitted) (quoting Patel v. Facebook Inc., 290 F. Supp. 3d 948, 953 (N.D. Cal. 2018)).

      Thus, recognizing the need to protect its citizens from harms like these, Illinois enacted BIPA

      specifically to regulate the collection, use, safeguarding, handling, storage, retention, and

      destruction of biometric identifiers and information.

                 B. Factual Allegations

             Plaintiff filed this class action against Defendant on March 20,2019, to redress Defendant's

      unlawful collection, use, storage, and disclosure of Dakkota's employees' biometric information

      under BIPA. In her Complaint, Plaintiff provided detailed allegations that Dakkota's employees

      were, and continue to be, universally required to scan their hands for enrollment in at least one

      employee database as a condition of their employment, but are not: (1) provided a publicly

      available retention schedule or guidelines for permanent destruction of the biometric data by



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      Defendant, as required by BIPA; (2) informed in writing of the purpose(s) and length of time for

8     which hand geometry data is being collected, stored, and used by Defendant; (3) provided (nor did
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      they execute) a written release for Defendant in order to collect, store, or use their hand geometry,
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5     as required by BIPA; or (4) asked for consent before disclosing, redisclosing, or otherwise
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CNJ   disseminating their hand geometry data to a third party, as required by BIPA. See Compl. % 10.
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sj            Plaintiff worked for Dakkota as a Team Lead from February 2012 until January 28, 2019
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H     in its facility located at 12525 S. Carondolet Avenue, Chicago, Illinois, 60633. Id. at f 40. As a
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UJ    condition of employment with Dakkota, Plaintiff was required to scan her hand each time she

      clocked in and out of work. Id. at If 41. Defendant subsequently stored Plaintiffs fingerprint data

      in its employee database(s). Id. at f 42.

              However, Defendant failed and continues to fail to inform Plaintiff and other employees of

      the extent of the purposes for which they collect individuals' sensitive biometric data or to whom

      the data is disclosed. Id. at    10, 32-33, 44, 84. Defendant failed to provide their employees,

      including Plaintiff, with a written, publicly available policy identifying their retention schedule

      and guidelines for permanently destroying individuals' hand geometry data when the initial

      purpose for collecting or obtaining their hand geometry data is no longer relevant, as required by

      BIPA. Id. at TP! 10, 33, 35,45, 53, 74, 75. Dakkota employees, including Plaintiff, are not told what

      might happen to their biometric data if and when Defendant merges with another company, or.

      worse, if and when Defendant's entire business folds. Id. at ff 36-37. Since Defendant neither

      publishes a BIPA-mandated data retention policy nor discloses the purposes for its collection of

      biometric data, Dakkota employees, including Plaintiff, have no idea to whom Defendant sells,

      discloses, re-discloses, or otherwise disseminates their biometric data. Id. at^ffl 10, 32, 37, 93. Nor

      are employees told to whom Defendant currently discloses their biometric data or what might



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      happen to their biometric data in the event of a merger or a bankruptcy. Id. at f 37. Finally,

8     Defendant never secured a written release executed by any of Dakkota's employees, including
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o     Plaintiff, permitting it to collect, store, use, and disseminate employees' biometric data, as required
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5     by BIPA. Id. at    10, 20, 32, 46, 53, 83.
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CNJ           Accordingly, Defendant's practices violate BIPA. As a result of Defendant's violations,
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d     Plaintiff and other similarly-situated individuals were subject to Defendant's common and uniform
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      policies and practices and were victims of its scheme to unlawfully collect, store, use, and
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y     disseminate Plaintiffs and all other similarly-situated individuals' biometric data in direct
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      violation of BIPA. As a result of Defendant's multiple violations of BIPA, Plaintiff and all other

      similarly-situated individuals suffered an invasion of privacy and other damages.

             Plaintiff now seeks class certification for the following similarly-situated individuals,

      defined as:

             All individuals working for Dakkota Integrated Systems in the State of Illinois who had
             their hand geometry collected, captured, received, obtained, maintained, stored or disclosed
             by Defendant during the applicable statutory period.

             Given Defendant's standard practices defined above and the straightforward legal

      questions presented in this case, Plaintiff now moves for class certification. Notably, this motion

      is being filed shortly after the Complaint was filed and before Defendant has responded. The

      parties have not discussed settlement, neither settlement offers nor demands have been made, and

      a scheduling order has not been issued. For the reasons discussed herein, Plaintiffs request should

      be granted.


                            II.    STANDARD FOR CLASS CERTIFICATION


             "The basic purpose of a class action is the efficiency and economy of litigation." CE Design

      Ltd. v.C& TPizza, Inc., 2015 IL App. (1st) 131465, If 9 (111. App. Ct. May 8, 2015) (citing Miner

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      v. Gillette Co., 87 111. 2d 7, 14 (1981)). "In determining whether to certify a proposed class, the

8     trial court accepts the allegations of the complaint as true and should err in favor of maintaining
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      class certification." CE Design Ltd., 2015 IL App. (1st) 131465,        9 (citing Ramirez v. Midway
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5     Moving & Storage, Inc., 378 111. App. 3d 51, 53 (2007)). Under Section 2-801 of the Code of Civil
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CM    Procedure, a class may be certified if the following four requirements are met:
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              (1) the class is so numerous that a joinder of all members is impracticable;
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              (2) there are questions of fact or law common to the class that predominate over
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                  any questions affecting only individual members;
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              (3) the representative parties will fairly and adequately protect the interest of the
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                  class; and

              (4) the class action is an appropriate method for the fair and efficient adjudication
                  of the controversy.

      See Smith v. Illinois Cent. R.R. Co., 223 111. 2d 441,447 (2006) (citing 735 ILCS 5/2-801). Notably,

      "[a] trial court has broad discretion in determining whether a proposed class meets the

      requirements for class certification." CE Design Ltd., 2015 IL App. (1st) 131465, ^ 9 (citing

      Ramirez, 378 111. App. 3d at 53). Here, the allegations and facts in this case amply demonstrate

      that the four certification factors are met.

                                            III.     ARGUMENT

              Plaintiffs claims here are especially suited for class certification because Defendant treated

      all employees identically for the purposes of applying BIPA. All of the putative class members in

      this case were uniformly subjected to the same illegal and unlawful collection, storage, use, and

      dissemination of their biometric data that was required as a condition of employment throughout

      the class period. Plaintiff meets each of the statutory requirements for maintenance of this suit as

      a class action. Thus, the class action device is ideally suited and is far superior to burdening the




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     Court with many individual lawsuits to address the same issues, undertake the same discovery,

8    and rely on the same testimony.
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             A.      The Class Is So Numerous That Joinder of All Members Is Impracticable.
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2            Numerosity is not dependent on a plaintiff setting forth a precise number of class members
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<N   or a listing of their names. See Cruz v. Unilock Chicago, 383 111. App. 3d 752, 771 (2d Dist. 2008)
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     ("Of course, plaintiffs need not demonstrate a precise figure for the class size, because a good-
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     faith, non-speculative estimate will suffice; rather, plaintiffs need demonstrate only that the class
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Uj   is sufficiently numerous to make joinder of all of the members impracticable.") (internal citations
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     omitted); Hayna v. Arby's, Inc., 99 111. App. 3d 700, 710-11 (1st Dist. 1981) ("It is not necessary

     that the class representative name the specific individuals who are possibly members of the

     class."). Courts in Illinois generally find numerosity when the class is comprised of at least 40

     members. See Wood River Area Dev. Corp. v. Germania Fed. Sav. Loan Ass'n, 198 111. App. 3d

     445,450 (5th Dist. 1990).

             In the present case, there can be no serious dispute that Plaintiff meets the numerosity

     requirement. The class of potential plaintiffs is sufficiently large to make joinder impracticable.

     As a result of Defendant' s violations of BIPA, Plaintiff and all similarly-situated individuals were

     subjected to Defendant's common and uniform policies and practices and were victims of

     Defendant's schemes to unlawfully collect, store, use, and disseminate their extremely personal

     and private biometric data in direct violation of BIPA. As a result of Defendant's violations of the

     Act, Plaintiff and all other similarly-situated individuals suffered an infringement of the rights

     afforded them under the law. Rosenbach, 2019 IL 123186, f 38. The precise number in the class



     1      Upon information and belief, Defendant employs hundreds of workers in the state of Illinois, many
     of whom are members of the class.


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      cannot be determined until discovery records are obtained from Defendant. Nevertheless, class

8     membership can be easily determined by reviewing Defendant's records. A review of Defendant's
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      files regarding the collection, storage, use, and dissemination of Dakkota's employees' biometric
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5     data performed during the class period is all that is needed to determine membership in Plaintiffs
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Cvi   proposed class. See e.g., Chultem v. Ticor Title Ins. Co., 401 111. App. 3d 226, 233 (1st Dist. 2010)
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8     (reversing Circuit Court's denial of class certification and holding that class was certifiable over
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      defendant's objection that "the proposed class was not ascertainable, because the process of
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UJ    reviewing defendant's transaction files to determine class membership would be burdensome");
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      Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 539-40 (6th Cir. 2012)2 (rejecting the argument

      that manual review of files should defeat certification, agreeing with district court's reasoning that,

      if manual review was a bar, "defendants against whom claims of wrongful conduct have been

      made could escape class-wide review due solely to the size of their businesses or the manner in

      which their business records were maintained," and citing numerous courts that are in agreement,

      including Perez v. First Am. Title Ins. Co., 2009 WL 2486003, at *7 (D. Ariz. Aug. 12, 2009)

      ("Even if it takes a substantial amount of time to review files and determine who is eligible for the

      [denied] discount, that work can be done through discovery")). Once Defendant's records are

      obtained, the Court will know the precise number of persons affected.

              Absent certification of this class action, Dakkota's employees may never know that their

      legal rights have been violated, and as a result, may never obtain the redress to which they are

      entitled under BIPA. Illinois courts have noted that denial of class certification where members of

      the putative class have no knowledge of the lawsuit may be the "equivalent of closing the door of


      2        "Section 2-801 is patterned after Rule 23 of the Federal Rules of Civil Procedure and, because of
      this close relationship between the state and federal provision, 'federal decisions interpreting Rule 23 are
      persuasive authority with regard to questions of class certification in Illinois.'" Cruz, 383 111. App. 3d at
      761 (quoting Avery v. State Farm Mutual Automobile Insurance Co., 216 I11.2d 100, 125 (2005)).

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      justice" on the victims. Wood River Area Dev. Corp. v. Germania Fed. Sav. & Loan Assn., 198

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      Ill.App.3d 445, 452 (5th Dist. 1990). Further, recognizing the need to protect its citizens from
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      harms such as identity theft, Illinois enacted BIPA specifically to regulate the collection, use,
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2     safeguarding, handling, storage, retention, and destruction of biometric identifiers and
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(Si   information. A class action would help ensure that Plaintiff and all other similarly-situated
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a     individuals have a means of redress against Defendant for its widespread violations of BIPA.
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              B.      Common Questions Of Law And Fact Exist That Predominate Over Any
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                      Questions Solely Affecting Individual Members Of The Class.
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              Courts analyze commonality and predominance under Section 2-801 by identifying the
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      substantive issues that will control the outcome of the case. See Bemis v. Safeco Ins. Co. of Am.,

      407 111. App. 3d 1164, 1167 (5th Dist. 2011); Cruz, 383 111. App. 3d at 773. The question then

      becomes whether those issues will predominate and whether they are common to the class,

      meaning that "favorable adjudication of the claims of the named plaintiffs will establish a right of

      recovery in other class members." Cruz, 383 111. App. 3d at 773. As stated by the Court of Appeals,

      the question is will "common . .. issues be the subject of the majority of the efforts of the litigants

      and the court[?]" Bemis, 407 111. App. 3d at 1168. The answer here is "yes."

              At the heart of this litigation is Defendant's culpable conduct under BIPA. The issues are

      simple and straightforward legal questions that plainly lend themselves to class-wide resolution.

      Notwithstanding the clear and unequivocal requirements of the law, Defendant disregarded

      Plaintiffs and other similarly-situated individuals' statutorily-protected privacy rights and

      unlawfully collected, stored, used, and disseminated their biometric data in direct violation of

      BIPA. Specifically, Defendant has violated and continues to violate BIPA because it failed and

      continues to fail to: (1) inform Plaintiff or the putative class in writing of the specific purpose(s)

      and length of time for which their hand geometry data was being collected, stored, used, and


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        disseminated as required by BIPA; (2) provide a publicly available retention schedule and

8     . guidelines for permanently destroying Plaintiffs and the putative class's hand geometry data, as
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        required by BIPA; and (3) receive a written release from Plaintiff or the putative class to collect,
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s       capture, or otherwise obtain their hand geometry data, as required by BIPA. Defendant treated the
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c«i     entire proposed class in precisely the same manner, resulting in identical violations of BIPA. These
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8       common practices create common issues of law and fact. In fact, the legality of Defendant's
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        collection, storage, use, and dissemination of Plaintiff s and the putative class's biometric data is
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UJ      the focus of this litigation.
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                Indeed, once this Court determines whether Defendant's practices of collecting, storing,

        using and disseminating individuals' biometric data without adhering to the specific requirements

        of BIPA constitutes violations thereof, liability for the claims of class members will be determined

        in one stroke. The material facts and issues of law are substantially the same for the members of

        the class, and therefore these common issues could be tried such that proof as to one claimant

        would be proof as to all members of the class. This alone establishes predominance. The only

        remaining questions will be the proper measure of damages and injunctive relief, which in and of

        themselves are questions common to the class. A showing of actual damages is not necessary in

        order to state a claim under BIPA. See Rosenbach, 2019 IL 123186, f 40 ("[A]n individual need

        not allege some actual injury or adverse effect, beyond violation of his or her rights under the Act,

        in order to qualify as an "aggrieved" person and be entitled to seek liquidated damages and

        injunctive relief pursuant to the Act"). Accordingly, a favorable adjudication of the Plaintiffs

        claims in this case will establish a right of recovery to all other class members, and thus the

        commonality and predominance requirements weigh in favor of certification of the class.

               C.       The Named Plaintiff And Class Counsel Are Adequate Representatives Of The
                        Class.


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              When evaluating adequacy, courts look to whether the named plaintiff has the same
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      interests as those of the class and whether he or she will fairly represent them. See CE Design Ltd.,
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      2015 IL App. (1st) 131465, 1 16. In this case, Plaintiffs interest arises from statute. The class
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h-    representative, Raven Fox, is a member of the proposed class and will fairly and adequately protect
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      the class's interests. Plaintiff, as a condition of employment, was required to have her hand scanned
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      Defendant subsequently stored Plaintiffs hand geometry data in its employee database(s). Plaintiff
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      has never been informed of the specific limited purposes (if any) or length of time for which

      Defendant collected, stored, used, or disseminated her biometric data. Plaintiff has never been

      informed of any biometric data retention policy developed by Defendant, nor has she ever been

      informed whether Defendant will ever permanently delete her hand geometry data. Finally,

      Plaintiff has never been provided, nor did she ever sign, a written release allowing Defendant to

      collect, store, use, or disseminate her hand geometry data. Thus, Plaintiff was a victim of the same

      uniform policies and practices of Defendant as the individuals she seeks to represent and is not

      seeking any relief that is potentially antagonistic to other members of the class. What is more.

      Plaintiff has the interests of those class members in mind, as demonstrated by her willingness to

      sue on a class-wide basis and step forward as the class representative, which subjects her to

      discovery. (See Exhibit A - Affidavit of Raven Fox.) This qualifies her as a conscientious

      representative plaintiff and satisfies the adequacy of representation requirement.

             Proposed Class Counsel, Stephan Zouras, LLP, will also fairly and adequately represent

      the class. Proposed Class Counsel are highly qualified and experienced attorneys. (See Exhibit B

        Affidavit of Ryan F. Stephan and the Firm Resume attached thereto as Exhibit B-l). Stephan

      Zouras, LLP, are recognized attorneys in class action lawsuits and have been designated as class


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      counsel in numerous class actions in state and federal courts. (See Exhibit B, Exhibit B-l). Thus,

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      proposed Class Counsel, too, are adequate and have the ability and resources to manage this
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      lawsuit.
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5             D.      A Class Action Is The Appropriate Method For Fair And Efficient
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h-                    Adjudication Of This Controversy.
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              Finally, a class action is the most appropriate method for the fair and efficient adjudication
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CO    of this controversy, rather than bringing individual suits which could result in inconsistent
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      determinations and unjust results. "It is proper to allow a class action where a defendant is alleged

      to have acted wrongfully in the same basic manner toward an entire class." P.J's Concrete
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      Pumping Service, Inc. v. Nextel West Corporation, 345 111. App. 3d 992, 1003 (2d Dist. 2004).

      "The purported class representative must establish that a successful adjudication of its individual

      claims will establish a right of recovery or resolve a central issue on behalf of the class members."

      Id.

              Here, Plaintiffs claim stems from Defendant's common and uniform policies and

      practices, resulting in common violations of BIPA for all members of the class. Thus, class

      certification will obviate the need for unduly duplicative litigation that might result in inconsistent

      judgments concerning Defendant's.practices. Wenthold v. AT&T Technologies, Inc., 142 111. App.

      3d 612 (1st Dist. 1986). Without a class, the Court would have to hear dozens, if not hundreds, of

      additional individual cases raising identical questions of liability. Moreover, class members are

      better served by pooling resources rather than attempting to litigate individually. CE Design Ltd.,

      2015 IL App. (1st) 131465,      28-30 (certifying TCPA class where statutory damages were alleged

      and rejecting arguments that individual lawsuits would be superior). In the interests of justice and

      judicial efficiency, it is desirable to concentrate the litigation of all class members' claims in a




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      single forum. For all of these reasons, the class action is the most appropriate mechanism to

8     adjudicate the claims in this case.
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              E.      In The Event The Court Or Defendant Seek More Factual Information
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                      Regarding This Motion, The Court Should Allow Supplemental And
                      Deferred Briefing Following Discovery.
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cvi           There is no meaningful need for discovery for the Court to certify a class in this matter;
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a     Defendant's practices and policies are uniform. If, however, the Court wishes for the Parties to
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      engage in discovery, the Court should keep the instant motion pending during the discovery period.
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UJ    allow Plaintiff a supplemental brief, and defer Defendant's response and Plaintiffs reply. Plaintiff
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      is moving as early as possible for class certification in part to avoid the "buy-off problem," which

      occurs when a defendant seeks to settle with a class representative on individual terms in an effort

      to moot the class claims asserted by the class representative. Plaintiff is also moving for class

      certification now because the class should be certified, and because no meaningful discovery is

      necessary to establish that fact. The instant motion is far more than a placeholder or barebones

      memorandum. Rather, Plaintiffs full arguments are set forth based on the facts known at this

      extremely early stage of litigation. Should the Court wish for more detailed factual information,

      the briefing schedule should be extended.

                                            IV.     Conclusion

             For the reasons stated above. Plaintiff respectfully requests that the Court enter an Order:

      (1) certifying Plaintiffs claims as a class action; (2) appointing Plaintiff Raven Fox as Class

      Representative; (3) appointing Stephan Zouras, LLP as Class Counsel; and (4) authorizing court-

      facilitated notice of this class action to the class. In the alternative, this Court should allow

      discovery, allow Plaintiff to supplement this briefing, and defer response and reply briefs.




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      Date: March 21,2019        Respectfully Submitted,

8                                /s/ Ryan F. Stevhan
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O                                Ryan F, Stephan
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o
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                                 James B. Zouras
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CsJ
                                 Catherine T, Mitchell
2                                STEPHAN ZOURAS, LLP
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                                 Firm ID: 43734




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                                      CERTIFICATE OF SERVICE

8            I, the attorney, hereby certify that on March 21, 2019, I electronically filed the attached
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      with the Clerk of the Court using the electronic filing system, which will send such filing to all
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2     attorneys of record.
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es                                                                /s/ Ryan F. Stephan
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                                             Exhibit A
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                                    IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                        COUNTY DEPARTMENT, CHANCERY DIVISION
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o                 RAVEN FOX, individually, and on behalf of all )
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                  others similarly situated,                    )
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                  DAKKOTA INTEGRATED SYSTEMS, LLC                      )
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                                            Defendant.                 )
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                                                       AFFIDAVIT OF RAVEN FOX

                           I, Raven Fox, being first duly cautioned, swear and affirm as follows:

                       1. I am over the age of 18 and competent to testify.

                      2. I am the Named Plaintiff and proposed Class Representative in this case.

                      3. I understand what it means to be a class representative. As a class representative, I am
                         looking out for the interests of the other class members.

                      4. I do not have any conflicts with the class members because they were treated like I was
                         with respect to this lawsuit. I have their interests in mind, as well as my own, in bringing
                         this lawsuit.


                  FURTHER YOUR AFFIANT SAYETH NOT.

                                                                       s   DocuSigned by:

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                  Date:                                                ^   98C02563P5734F1...
                                                                        Raven Fox
  Hearing Date: 4/8/2019 10:00 AM -10:00 AM

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                                              Exhibit B
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       RAVEN FOX, indiyitaiMy, and on behalf of all )
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       others similarly situated,                   )
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               I, Ryan F. Stephan, being first duly cautioned, swear and affirm as follows:



          2.
               for Discovery on Certification Issues.

          3, I am a partner of the law firm of Stephan Zouras, LLP. Attached hereto as Exhibit 1 is a
             true and correct copy of the firm's resume.


       FURTHER YOUR AFFIANT SAYETH NOT.



       Date: March 21, 2019                            MIRvanF.Simhm
                                                       Ryan F, Stephan

       Subscribed and sworn to
       before me on this 21st day of
       March, 2019


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               *1   Notary Public, State of Illinois
               By    My Commission Expires
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      STEPHANZOURAS
                                                                                                  100 North Riverside Plaza, Suite 2150
                                                                                                                Chicago, Illinois 60606
                                                                                                      P 312-233-1550 j F312-233-1560
       ATTORNEYS AT LAW                                                                                            stephBn2011ras.com



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5     STEPHAN ZOURAS, LLP is a national law firm which concentrates on helping our clients in complex class and individual
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      litigation. The firm is widely recognized for its leadership, skill, integrity and experience litigating wage and hour law
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a.    and other employment disputes, mass torts and catastrophic personal injury, consumer protection, cybersecurity,
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      products liability and other complex litigation. We are routinely appointed lead or co-lead counsel in high-stakes,
a>    groundbreaking, rapidly-developing areas with far-reaching impact.
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      Our Chicago-based firm takes pride in litigating cases and getting the best possible results in federal and state courts
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      throughout the United States at both the trial and appellate levels. The firm's two founding partners, James B. Zouras
<      and Ryan F. Stephan, have successfully prosecuted claims ranging from individual wrongful death and other catastrophic
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Q     injury cases to complex, multi-district class and collective actions which have collectively resulted in a recovery of more
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      than $100,000,000 for over 100,000 individuals. Stephan Zouras, LLP has "substantial class action experience [and] have
      secured multi-million-dollar class recoveries...." Bhattacharya v. CapgeminiNorth America, Inc., 324 F.R.D. 353, 363 (N.D.
      III. 2018) (Kennedy, J.)


                                                    PRINCIPAL ATTORNEYS

      JAMES B. ZOURAS is a founding principal of Stephan Zouras, LLP. Dedicating his entire career to combating corporate
      abuse and injustice, Jim has helped thousands of people recover tens of millions of dollars in damages in individual and
      class actions arising under federal wage and hour laws including the Fair Labor Standards Act ("FLSA") and
      comparable state wage laws, other complex litigation, and catastrophic personal injury actions involving wrongful death,
      vehicle crashes, products liability, premises liability and construction negligence. Jim has been appointed lead or co-
      lead counsel on dozens of contested class actions throughout the United States. He has successfully tried over a dozen
      jury trials and argued over 14 appeals as lead appellate counsel before the federal and state appellate courts. In 2000,
      Jim was named among the Chicago Daily Law Bulletin's "Top 40 Lawyers Under Age 40," one of the youngest lawyers
      ever bestowed that honor. Jim and his cases have been profiled by numerous media outlets including the Chicago
      Tribune, the Chicago Sun-Times, Bloomberg BNA, Billboard Magazine and TMZ. Jim has also been interviewed by CBS
      Consumer Watch. Jim is frequently invited as a speaker at national class action litigation seminars. Jim is a 1995
      graduate of DePaul University College of Law, where he served as Editor of the Law Review and graduated in the top
      10% of his class.

      RYAN F. STEPHAN is a founding principal of Stephan Zouras, LLP. Throughout his career, Ryan has been a passionate
      advocate for employee rights, and has helped thousands of clients recover damages in unpaid overtime, employment
      disputes, business litigation, products liability and personal injury cases. Ryan has successfully tried cases to verdict
      including obtaining a $9,000,000 verdict on behalf of 200 employees who were misclassified and denied overtime pay.
      Ryan has also served as lead or co-lead counsel on dozens of complex class and collective action cases involving wage
      and hour matters and has helped recover damages for tens of thousands of wronged employees. In these cases, Ryan
      has helped establish precedent in wage and hour law, forced major corporations to change unlawful employment
      practices and helped recover tens of millions of dollars in unpaid wages for his clients. Ryan and his cases have been
      profiled by numerous media outlets including Good Morning America, Fortune, ESPN, Fox News, The Guardian, The
      New York Times, Think Progress, USA Today and Vice Sports. Ryan is a 2000 graduate from Chicago Kent College of
      Law




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      ATTORNEYS AT LAW                                                                                               stephaiuouriis.com



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o    Ryan and Jim are admitted to the United States Supreme Court as well as the Trial Bar of the United States District Court
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a>   for the Northern District of Illinois. In addition, they have been admitted or admitted pro hac wee to prosecute class
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     Pennsylvania, the Western District of North Carolina, the Superior Court for the State of California, the Central District
h-   of Illinois, the District of Minnesota the Eastern District of Michigan, the Eastern District of Missouri, the District of
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     Maryland, the Southern District of Ohio, the Northern, Middle and Southern Districts of Florida, the Northern District of
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     Texas, the District of Massachusetts, the District of Minnesota, the First Judicial District of Pennsylvania, the Western
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     District of Washington and the Southern and Northern Districts of Iowa.
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<    In every consecutive year since 2009, Chicago Magazine's Super Lawyer Section selected both Jim and Ryan as two of
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     the top attorneys in Illinois, a distinction given to no more than 5% of the lawyers in the state.
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                                                                 PARTNERS

     ANDREW C. FICZKO is a partner of Stephan Zouras, LLP. A tireless fighter for working people, Andy has spent his entire
     professional career litigating on behalf of employees in class and collective actions nationwide. Andy has helped
     thousands of clients recover damages in cases involving unpaid minimum and overtime wages and other benefits. Andy
     served as the second chair in two major federal jury trials to verdict on behalf of Plaintiffs in wage and hour matters and
     one state jury trial to verdict on behalf of Plaintiffs in a breach of contract matter. A 2009 graduate from Drake University
     Law School in 2009, Andy is admitted to the Trial Bar of the United States District Court for the Northern District of
     Illinois has been admitted pro hac vice to the Southern District of New York, the Southern and Northern Districts of
     Iowa, District of Massachusetts, Eastern District of Pennsylvania, and the Western District of Washington. In every
     consecutive year since 2014, Andy has been recognized by Chicago Magazine's Super Lawyer section as a Rising Star, a
     distinction given to no more than 2.5% of Illinois lawyers.

     TERESA M. BECVAR is a partner of Stephan Zouras, LLP. A steadfast advocate for individual rights, Teresa has helped
     thousands of clients hold corporations accountable in employment and consumer protection cases. Teresa has extensive
     experience in a wide range of employment cases, including wage and hour class and collective actions and employment
     discrimination. Teresa is a 2013 graduate of Chicago-Kent College of Law, where she served as Editor of the Law Review
     and graduated in the top 15% of her class. Teresa has been admitted pro hac viceXo the Eastern and Southern Districts
     of New York, the Western District of Washington, the Middle District of Florida and the Central District of California. In
     every consecutive year since 2016, Teresa has been recognized by Chicago Magazine's Super Lawyer section as a Rising
     Star, a distinction given to no more than 2.5% of Illinois lawyers.

     CATHERINE T. MITCHELL is a partner of Stephan Zouras, LLP who graduated from The John Marshall Law School in
     2015. Catherine litigates on behalf of Stephan Zouras, LLP's clients in both class action and individual litigation,
     representing people in a wide-range of legal disputes, including unpaid wages, employee misclassification, mass torts,
     antitrust, and consumer fraud. Catherine is an active member of the Women's Bar Association of Illinois and the Young
     Lawyers Society of the Chicago Bar Association, and served as a Chapter Editor for the Second Edition of BNA's Age
     Discrimination in Employment Act Treatise. Catherine is admitted to practice in Illinois, the District of Colorado, the
     Eastern District of Wisconsin and has been admitted pro hac vice to the Southern and Eastern District of New York, the
     District of Florida-Tampa Division, the Southern District of Iowa and the Eastern District of North Carolina. Catherine




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     STEPHANZOURAS
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     earned her Bachelor's Degree from Saint Mary's College where she was a member of the Dean's list and served as a
O
X    Member Counselor in the Business Enterprise Law Clinic. Catherine is currently an active member of the Women's Bar
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     Association as well as a Director on The John Marshall Law School Alumni Association's Board of Directors.
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CM                                                  ASSOCIATE ATTORNEYS
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8    HALEY R. JENKINS graduated cum laude from Chicago-Kent College of Law in 2016. Haley litigates on behalf of
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     Stephan Zouras, LLP's clients in both class action and individual litigation. A spirited advocate, Haley represents clients
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     in legal disputes involving unpaid wages, employee misclassification, antitrust, consumer fraud, whistleblower actions,
<    and qui tarn cases. She is currently a member of the legal team advocating for clients' biometric privacy rights in cutting-
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LU   edge cases against employers and biometric device manufacturers that unlawfully collect, store, use and disseminate
11   employees' and consumers' biometrics data. Haley is admitted to practice in Illinois and the District of Colorado and has
     been admitted pro hac vice to the Middle District of Pennsylvania. Haley graduated from the University of Illinois at
     Urbana-Champaign in 2013 where she majored in English.

     ANNA M. CERAGIOLI earned her Juris Doctor from Chicago-Kent College of Law where she was named to the Dean's
     List and elected President of the Moot Court Honor Society. She was one of only twelve graduating students inducted
     into the Chicago-Kent Bar & Gavel Society. Anna is a skilled and dedicated advocate for individuals and groups of people
     who have been injured, deprived of earned wages or otherwise mistreated by employers. She has worked tirelessly on
     an array of individual and class actions lawsuits involving unpaid wages, employee misclassification, unlawful credit
     checks and consumer fraud. Anna received her undergraduate degree from Marquette University where she double-
     majored in Writing Intensive English and Politics in Law.



                                                          OF COUNSEL                  •

     DAVID J. COHEN, a highly skilled and successful class-action attorney, joined Stephan Zouras, LLP in April 2016 and
     manages our Philadelphia office. Dave has spent his entire career fighting to protect the rights of thousands of
     employees, consumers, shareholders, and union members. Before joining Stephan Zouras, Dave worked on, and ran,
     dozens of significant antitrust, consumer, employment and securities matters for four highly-regarded Philadelphia
     firms. Before joining the private sector, Dave completed a unique clerkship with the Hon. Stephen E. Levin in the
     Philadelphia Court of Common Pleas, during which he not only helped to develop a respected and efficient system for
     the resolution of the Court's class action cases, but also contributed to several well-regarded works on class actions.
     Dave earned a J.D. from the Temple University School of Law in 1994. While attending law school, Dave was awarded
     the Barristers Award for excellence in trial advocacy and worked as a teaching assistant for Hon. Legrome Davis (E.D.
     Pa.) as part of Temple's award-winning Integrated Trial Advocacy program. Dave graduated with honors from the
     University of Chicago in 1991.


     Dave is admitted to practice in the United States Court of Appeals for the Third Circuit, the United States Court of
     Appeals for the Sixth Circuit, the United States District Court for the Eastern District of Pennsylvania, the United States
     District Court for the Middle District of Pennsylvania, the United States District Court for the Western District of




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      STEPHAHOURAS
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      ATTORNEYS AT          LAW                                                                                      stephanzouras.corn



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<o    Pennsylvania, the United States District Court for the District of New Jersey and the state courts of Pennsylvania and
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X     New Jersey. He is a member of the American and Philadelphia Bar Associations.
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      PHILIP J. GIBBONS, JR., a highly-accomplished Plaintiff's class action attorney in his own right, became of counsel to
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Q-    Stephan Zouras, LLP in June 2017. Phil focuses entirely on employment law, with an emphasis on helping employees
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      recover unpaid wages including overtime. Phil began his legal career with a large national law firm, representing and
a>    counseling corporations and employers. Since 2001, Phil has exclusively represented employees. Phil is recognized by
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      his peers as a highly skilled employment lawyer. He is listed in Best Lawyers in America and Super Lawyers. In addition,
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      he has a perfect 10.0 rating on Avvo.com and an "A/V" rating with Martindale Hubble, which is the highest rating an
tii   attorney can receive. Phil has extensive experience litigating single and multi-plaintiff wage and hour lawsuits under
<     the Fair Labor Standards Act, recovering unpaid overtime and minimum wages for thousands of employees throughout
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a     the United States.
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      Phil is admitted to practice in North Carolina, Indiana, Seventh Circuit Court of Appeals, Sixth Circuit Court of Appeals,
      Third Circuit Court of Appeals, Tenth Circuit Court of Appeals, U.S. District Courts Western District North Carolina, Middle
      District North Carolina, Southern District of Indiana, Northern District of Indiana, and Eastern District of Michigan.



                             REPRESENTATIVE TRIALS, VERDICTS AND JUDGMENTS

      Franco, et af. v. Ideal Mortgage Bankers, d/b/a Lend America                      12/14/17 -Trial Court Judgment
      Mo. 07-cv-39S6 (United States District Court for the Eastern District of New York)                  •
      The Court entered a $15.2 million judgment on behalf of several hundred loan officers who were deprived of
      minimum wages and overtime in violation of federal and state law.

      Frisari v. DISH Network                                                                8/25/16 - Arbitration Judgment
      No. 13-160-001431-12 (AAA Arbitration)
      The Arbitrator certified and granted final judgment in excess of seven figures for a class of over 1,000 New Jersey inside
      sales associates who performed work before and/or after their shifts without pay and were not paid the proper overtime
      rate when they worked in excess of 40 hours a week.

      Huskey v. Ethicon Inc.                                                                         9/10/2014-Jury Verdict
      No. 2:12-cv-0S201 (United States District Court for the Southern District of West Virginia)
      Stephan Zouras, LLP helped secure a $3,270,000.00 jury verdict in one of the bell-weather trial cases in the multi-district
      litigation against Johnson & Johnson's Ethicon unit for defective design, failure to warn and negligence related to
      transvaginal mesh device.

      Lee v. THR                                                                              5/22/14 - Trial Court Judgment
      No. 12-cv-3078 (United States District Court for the Central District of Illinois)
      As a result of the efforts of class counsel Stephan Zouras, LLP, the Court entered a judgment for a class of employees
      given job titles such as "Buyers," "Auditors" and "Managers" for unpaid overtime in the sum of $12,207,880.84.

      Vilches et at. v. The Travelers Companies, Inc.                                       12/12/12 - Arbitration Judgment
      No. 11-160-000355-11 (American Arbitration Association)




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       ATTORNEYS AT LAW                                                                                                  steplaiKourasxorn



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ID    Following a contested evidentiary hearing, Stephan Zouras, LLP secured a significant monetary award on behalf of a
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I     group of insurance appraiser employees seeking unpaid earned overtime under the FLSA.
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CM    Kyriakouiis, at al. v. DuPage Health Center                                                     11/8/12 - Jury Verdict
1     No. 10-cv-7902 fUnited States District Court for ike Northern District of Illinois)
      Stephan Zouras, LLP achieved a favorable jury verdict on behalf of several medical assistants deprived of minimum and
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      overtime wages in violation of federal and Illinois law.
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S     Smith v. Safety-Kleen Systems, Inc.                                                          7/11/12 - Jury Verdict
CO    No. 10-cv-6S74 (United States District Court for the Northern District of Illinois)
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      Stephan Zouras, LLP achieved a favorable jury verdict on behalf of a chemical handler deprived of overtime wages in
O     this donning and doffing action brought under the FLSA.
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      Wong v. Wice Logistics                                                                  1/30/12 - Jury Verdict
       No. 08 L 13380 (Circuit Court of Cook County, lifmois)
      Stephan Zouras, LLP recovered unpaid commissions and other damages for Plaintiff based on her claims under the
      Illinois Wage Payment and Collection Act.

      Daniels et al. v. Premium Capital Financing                                                  10/18/11 - Jury Verdict
      No. 08-cv-4736 (United States District Court for the Eastern District of New York)
      Stephan Zouras, LLP was appointed lead class and trial counsel and achieved a jury verdict in excess of $9,000,000.00
      on behalf of over 200 loan officers who were deprived of minimum wages and overtime pay.

      Ferrand v. Lopas                                                                                         5/22/01 - Jury Verdict
      No. 001 2502 (Circuit Court of Cook County, Law Division, State of Illinois)
      Jury verdict in excess of available liability insurance policy limits entered in favor of seriously-injured pedestrian, resulting
      in liability against insurance carrier for its bad faith refusal to tender the policy limits before trial.


                        REPRESENTATIVE RESOLVED CLASS AND COLLECTIVE ACTIONS
      Courts nationwide have appointed the firm as lead or co-lead counsel in numerous class and collective actions
      in which they have collectively secured over one hundred million dollars in verdicts and settlements including:

      Moseman v. U.S. Bank National Association                                                  1/07/19 - Final Approval
      No. 17-cv-O0481 (United States District Court for the Western District of North Carolina)
      As lead counsel, Stephan Zouras, LLP achieved a class wide settlement on behalf of individuals employed as AML/BSA
      Preliminary Investigators who worked in excess of 40 hours per week and were not paid proper overtime compensation.

      Ivy v. Adventist Midwest Health                                                                   11/14/18 - Final Approval
      No. 16-cv-7606 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP achieved a six-figure class settlement on behalf of Home Health Clinicians who worked in excess
      of 40 hours per week and were not paid overtime.

      Bhattacharya v. Capgemini, et al.                                                        11/13/18 - Final Approval
      No. 16-cv-079S0 (United States District Court for the Northern District of Illinois)
      Final approval for class settlement in the amount of $990,000.00 was granted and awarded to approximately 900 Indian




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      national participants of Capgemini's Group Health Plan based on alleged violations of the Employee Retirement Income
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X     Security Act ("ERISA").
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CJ    Carver v. Presence Health Network, et al.                                                 7/10/18 - Final Approval
5      No. 1S-cv-02905 {United States District Court for the Northern District of Illinois)
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      Stephan Zouras, LLP helped achieve final approval of a seven-figure class settlement on behalf of participants and
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      beneficiaries of benefit plans sponsored by Presence Health based on alleged violations of the Employee Retirement
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o     Income Security Act ("ERISA").
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CO    lukas v. Advocate Health Care, et al.      -                                          6/27/18 - Final Approval
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<     No. 14-cv-01873 (United States District Court for the Northern District of Illinois)
o     Stephan Zouras, LLP helped achieve final approval of a seven-figure class settlement on behalf of thousands of
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      participants and beneficiaries to Advocate Health Care Network's Pension Plan based on alleged violations of the
u.
      Employee Retirement Income Security Act ("ERISA").

      Brown v. Health Resource Solutions, Inc.                                                    4/20/18 - Final Approval
      No. 16-cv-10667 (United States District Court for the Northern District of Illinois)
      The Court granted final approval of class settlement for $900,000.00 in unpaid overtime wages on behalf of Home Health
      Clinicians who were misclassified as exempt under federal and state wage laws.

      Eggieston v. USCC Services, LLC.                                               -             2/16/18 - Final Approval
      No. 16-cv-0677S (United States District Court for the Northern District of Illinois)
      As co-lead counsel, Stephan Zouras, LLP helped obtain final approval of a $1,250,000 class settlement for unpaid
      overtime wages on behalf of misclassified Sales Managers.

      Caison v. Sogeti USA, LLC, et al.                                                         2/12/18 - Final Approval
      No. 17-cv-2786 (United States District Court for the Northern District of Illinois)
      As lead counsel, Stephan Zouras, LLP achieved a class wide settlement on behalf of hundreds of Business Analysts who
      worked in excess of 40 hours per week and were not paid proper overtime compensation.

      Kaminski v. lank of America, N.A.                                                         2/15/18 - Final Approval
      No. 16-cv-10844 (United States District Court for the Northern District of Illinois)
      Final approval for class settlement in the amount of $850,000 in unpaid wages was granted and awarded to a class of
      approximately 100 employees working as Senior Specialist-Securities and Operation Market Professionals.

      Byrne v. Centegra Health System                                                                 1/29/18 - Final Approval
      No. 17-cv 00018 (United States District Court for the Northern District of Illinois)
      The Court granted final approval of class settlement for $425,000 in unpaid overtime wages on behalf of registered
      nurses, physical therapists, occupational therapists, speech therapists and other similarly-designated skilled care
      positions who were misclassified as exempt under federal and state wage laws.

      Donoghue v. Verizon Communications, Inc.                                                    11/16/17-Final Approval
      No. 16-cv-4742 (United States District Court for the Eastern District of Pennsylvania)
      The Court granted final approval of class settlement for $800,000 in unpaid overtime wages on behalf of wireline workers
      who were hired to fill in for Verizon employees during a strike. Despite regularly working 65 hours per week, these




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co    employees were classified as exempt and denied overtime wages.
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05    Tompkins v. Farmers Insurance Exchange                                                       9/27/17-Final Approval
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CNJ   Mo. 14-cv-3737 (United States District Court for the Eastern District of Pennsylvania)
2     The Court granted final approval of a $775,000.00 class settlement on behalf misclassified loan officers seeking unpaid
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      overtime wages.
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CD    In re Sears Holdings Corporation Stockholder and Derivative Litigation                       5/9/17 - Final Approval
o     No. 11081-VCL (Court of Chancery of the State of Delaware)
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5     Stephan Zouras, LLP represented the Named Plaintiff in a $40 million settlement in connection with a 2015 sale by Sears
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      of 235 properties to Seritage Growth Properties.
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Q     Oaks v. Sears                                                                          4/12/17 - Final Approval
o
UJ    No. 1:15-cv-11313 (United States District Court for the Northern District of Illinois)
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      Stephan Zouras, LLP settled on behalf of thousands of consumers who own or once owned Sears Kenmore grills in a
      product defect class action.

      Hauser v. Alexian Brothers Home Health                                                      4/06/17 - Final Approval
      No. 1S-cv-6462 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP settled for $1 million on behalf of home health care clinicians who were misclassified as "exempt"
      and deprived of earned overtime wages.

      Leiner v. Johnson & Johnson                                                          1/31/17-Final Approval
      No. 1S-cv-5876 (United States District Court for the Northern District of Illinois)
      The Court granted final approval of a $5 million settlement for consumers nationwide in a consumer fraud class
      action. Stephan Zouras, LLP represented consumers who were deceived into paying premium prices for Johnson &
      Johnson baby bedtime products which falsely claimed to help babies sleep better.

      Reed v. Friendly's Ice Cream, LLC, et al.                                                  1/31/17-Final Approval
      No. 15-cv-00298 (United States District Court for the Middle District of Pennsylvania)
      Stephan Zouras, LLP served as co-counsel and helped obtain final approval of a $3,500,000 class settlement on behalf
      of nationwide Servers who were not compensated for off-the-clock worked performed during unpaid meal breaks and
      after their scheduled shifts.                                                                                  ,

      McPhearson v. 33 Management                      ,                                                11/3/16 - Final Approval
      No. 15-ch-17302 (Circuit Court of Cook County, IL)
      The Court granted final approval of class settlement on behalf of tenants of a Chicago apartment building where the
      landlords violated the City of Chicago Residential Landlord and Tenant Ordinance by collecting and holding tenant
      security deposits without paying interest earned.

      Cook v. Bank of America                                                                           8/2/16 - Final Approval
      No. 15-cv-07718 (United States District Court for the Northern District of Illinois)
      The Court granted final approval of $3,250,000 settlement for an Illinois Class and FLSA Collective on behalf of
      individuals who worked as Treasury Services Advisors and who were misclassified as exempt from earned overtime
      wages.

      Altnor v. Preferred Freezer Services, Inc.                                                  7/18/16 - Final Approval
      No. 14-cv-7042 (United States District Court for the Eastern District of Pennsylvania)
      The firm's attorneys served as lead counsel in this lawsuit seeking recovery of wages for unpaid meal break work for a




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      class of 80 cold storage warehouse workers.
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Oi    Lukas v. Advocate Health Care                                                                  6/29/16 - Final Approval
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(SI   No. 14-cv-2740 (United States District Court for the Northern District of Illinois)
2     The Court granted final approval of a $4,750,000 settlement for a federal FLSA and Illinois Minimum Wage Law collective
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I--   class of home health care clinicians who were wrongly classified as "exempt" from federal and state overtime laws.
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o>    Kurgan v. Chiro One Wellness Centers LLC                                                          4/27/16 - Final Approval
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CM    No. 10-cv-1839 (United States District Court for the Northern District of Illinois)
CN    The Court granted Plaintiffs' motion for Section 216(b) certification of Plaintiffs' FLSA claim, granted Rule 23 certification
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      of Plaintiffs' claims under the Illinois Minimum Wage Law and appointed Stephan Zouras, LLP as counsel for a class of
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<     chiropractic technicians and assistants.
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UJ    Heba v. Comcast                                                                             4/6/16 - Final Approval
11    No, 12-471 (First Judicial District of Penmyfvama Court of Common Pirns of Philadelphia)
      The Court granted class certification to Customer Account Executives who worked at Comcast's Pennsylvania call centers
      and were required to work 15 minutes a day before their scheduled start time without pay. As lead counsel, Stephan
      Zouras, LLP achieved a favorable resolution for over 6,000 class members.

      Johnson v. Casey's General Stores, Inc.                                                     3/3/16 - Final Approval
      No. 15-cv-3086 (United States District Court for the Western District of Missouri)
      The Court granted final approval on behalf of a certified class of employees of Casey's General Stores, Inc. to redress
      violations of the Fair Credit Reporting Act (FCRA).

      Fields v. Bancsource, Inc.                                                                          2/3/16 - Final Approval
      No. 14-cv-7202 (United States District Court for the Northern District of Illinois)
      The Court entered an order granted Plaintiffs' motion for Section 216(b) certification of a class of field engineers who
      were deprived of overtime for hours worked in excess of 40 in given workweeks.

      Elder, et al. v. Comcast Corporation                                                        1/11/16- Final Approval
      No. 12-cv-1157 (United States District Court for the Northern District of Illinois)
      The Court granted Plaintiffs' motion for conditional certification and appointed Stephan Zouras, LLP as counsel for a
      class of cable technicians who allege they were deprived of overtime wages in violation of federal law.

      Posada, et al. v. Continental Home Loans, Inc.                                                      1/13/16 - Final Approval
      15-cv-4203 (United States District Court for the Eastern District of New York)
      Stephan Zouras, LLP was appointed class counsel and achieved a substantial settlement on behalf of a class of loan
      officers deprived of minimum and overtime wages.

      Struett v. Susquehanna Bank                                                               10/27/15 - Final Approval
      No. 15-cv-176 (United States District Court for the Eastern District of Pennsylvania)
      The firm's attorneys served as co-lead counsel in this lawsuit which recovered $300,000 in unpaid overtime wages for
      31 misclassified loan officers.

      Faust, et al. v. Comcast Corporation                                                             10/11/15-Final Approval
      No. 10-cv-2336 (United States District Court for the Northern District of Maryland)
      The Court granted Plaintiffs' motion for conditional certification and appointed Stephan Zouras, LLP lead counsel for a
      class of call center employees.




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CO    Butler, et al. v. Direct Sat                                                                     9/3/15 - Final Approval
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      No. W-cv-08747 DKC (United States District Court for the District of Maryland)
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O)    Stephan Zouras, LLP reached favorable resolution on behalf of a finally-certified collective class of technicians working
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      in DirectSat's Maryland warehouses who were not paid overtime.
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CL    Sosnicki v. Continental Home Loans, Inc.                                                       7/30/15 - Final Approval
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      No. 12-cv-1130 (United States District Court for the Eastern District of New York)
O)    As lead class counsel, Stephan Zouras, LLP achieved a six-figure settlement on behalf of a collective class of loan officers
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      who were deprived of minimum wages and overtime in violation of federal and state law.

55    Bordell v. Geisinger Medical Center                                                          4/8/15 - final Approval
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<     No. 12-cv-1688 (Northumberland Court of Common Pleas)
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      The firm's attorneys served as lead counsel in this lawsuit which challenged Defendant's workweek averaging practices
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      and recovered $499,000 in unpaid overtime wages for hospital workers.
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      Harvey, et al. v. AS Electrolux, et al.                                                 3/23/15 - Final Approval
      No. 11-cv-3036 (United States District Court for the Northern District of Iowa)
      As lead counsel, Stephan Zouras, LLP achieved a six-figure settlement amount on behalf of hundreds of production
      workers seeking unpaid earned wages.

      Price v. NCR Corporation                                                               3/18/15 - Final Approval
      No. 51-610-908-12 (AAA Arbitration)
      As lead class counsel, Stephan Zouras, LLP achieved a seven figure, arbitrator approved settlement on behalf of
      thousands of Customer Engineers nationwide who were deprived overtime wages in violation of federal law.

      Frebes, et al. v. Mask Restaurants, LLC                                                    1/15/15 - Final Approval
      No. 13-cv-3473 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP was appointed class counsel and achieved a substantial settlement on behalf of hundreds of servers,
      bartenders and bussers forced to participate in an illegal "tip pool."

      Jones v. Judge Technical Services Inc.                                                 12/15/14 - Final Approval
      No. 11-cv-6910 (United States District Court for the Eastern District of Pennsylvania)
      As lead class counsel, Stephan Zouras, LLP prevailed on summary judgment and subsequently achieved a seven-figure
      settlement on behalf of IT workers who were designated under the "Professional Day" or "Professional Week"
      compensation plan, misclassified as exempt from the FLSA and denied overtime pay.

      Howard, et al. v. Securitas Security Services USA, Inc.                                           5/7/14 - Final Approval
      No. 08-cv-2746 (United States District Court for the Northern District of Illinois)
      and, Hawkins v. Securitas Security Services USA, Inc.
      No. 09-cv-3633 (United States District Court for the Northern District of Illinois)
      For settlement purposes, the Court certified a class of approximately ten thousand security guards seeking damages for
      unpaid wages and overtime under the FLSA and Illinois Minimum Wage Law.

      Thomas v. Matrix Corporation Services                                                       2/12/14 - Final Approval
      No. 10-cv-S093 (United States District Court for the Northern District of Illinois)
      As lead counsel, Stephan Zouras, LLP achieved a six-figure settlement on behalf of a class of hundreds of technicians
      who allege they were deprived of overtime wages in violation of federal law.




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i     Ingram v. World Security Bureau                                                           12/17/13-Final Approval
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G>    Ma. 11-cv-6566 (UnitedStates District Court for the Northern District of Illinois)
8     Stephan Zouras secured a class settlement on behalf of several hundred security officers deprived of minimum wages
5     and overtime in violation of federal and state law.
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CM    Sexton v. Franklin First Financial                                                           9/30/13 - Final Approval
O)    Mo. 08-cv-049S0 (United States District Court for the Eastern District of Mem York)
o     Stephan Zouras, LLP achieved a settlement on behalf of a class of approximately 150 loan officers deprived of minimum
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      wages and overtime in violation of the FLSA.
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<     Outlaw v. Secure Health, L.P.                                                              9/24/13 - Final Approval
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Q     Mo. 11-cv-602 (United States District Court for the Eastern District of Pennsylvania)
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      The firm's attorneys served as lead counsel in this lawsuit seeking recovery of wages for unpaid pre-shift, meal break
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      and uniform maintenance work for a class of 35 nursing home workers.

      Robinson v. RCN Telecom Services, Inc.                                                      8/5/13 - Final Approval
      No. 10-cv-6841 (United States District Court for the Eastern District of Pennsylvania)
      The firm's attorneys served as co-lead counsel in this lawsuit which recovered $375,000 in unpaid overtime wages for
      misclassified cable television installers.

      Holland v. Securitas Security Services USA, Inc.                                            7/26/13- Final Approval
      No. BC 394708 (Superior Court of California, County of Los Angeles)
      As class counsel, Stephan Zouras, LLP achieved a six figure settlement on behalf of thousands of security officers who
      allege they were deprived of overtime wages in violation of federal law.

      Jankuski v. Heath Consultants, Inc.                                                       7/2/13 - Final Approval
      No. 12-cv-04549 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP was appointed lead counsel and achieved a settlement on behalf of gas management technicians
      deprived of minimum wages and overtime in violation of the FLSA.

      Ord v. First National Bank of Pennsylvania                                                  6/21/13 - Final Approval
      No. 12-cv-766 (United States District Court for the Western District of Pennsylvania)
      The firm's attorneys served as co-lead counsel in this consumer fraud lawsuit which recovered $3,000,000 for consumers
      who had been made to pay improper overdraft fees.

      Holley v. Erickson Living Management, LLC                                                     6/13/13 - Final Approval
      No. 11-cv-2444 (United States District Court for the Eastern District of Pennsylvania)
      The firm's attorneys served as lead counsel in this lawsuit seeking recovery of wages for unpaid pre-shift and meal break
      work for a class of 63 nursing home workers.

      Hansen, et al. v. Per Mar Security Services                                               5/15/13 - Final Approval
      No. 09-cv-4S9 (United States District Court for the Southern District of Iowa)
      Stephan Zouras, LLP was appointed class counsel and secured a settlement for hundreds of security guards deprived of
      minimum wages and overtime in violation of federal and state law.




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      Pomphrett v. American Home Bank
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      No. 12-cv-2S11 (United States District Court for the Eastern District of Pennsylvania)
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      The firm's attorneys served as co-lead counsel in this lawsuit which recovered $2,400,000 in unpaid overtime wages for
8     misclassified loan officers.
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h-    Murphy v. Rayan Brothers, et al.                                                               2/22/13 - Final Approval
csi   No. 11 CH 03949 (Circuit Court of Cook County, Chancery Division, State of Illinois)
O)
      Stephan Zouras, LLP achieved class wide recovery on behalf of a class of tenants for violations of the Chicago Residential
a     Landlord and Tenant Ordinance (RLTO).
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tii   Glatts v. Crozer-Keystone Health System
h-                                                                                           2/6/13 - Final Approval
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Q     No. 0904-1314 (Philadelphia Court of Common Pleas)
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UJ    The firm's attorneys served as co-lead counsel in this lawsuit which challenged Defendant's workweek averaging
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      practices and recovered $1,200,000 in unpaid overtime wages for hospital workers.

      Chambers v. Front Range Environmental, LLC                                                     1/23/13 - Final Approval
      No. 12-cv-891 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP was appointed as class counsel and resolved this action on behalf of a class of maintenance workers.

      Piehl v. Baytree National Bank                                                              1/3/13 - Final Approval
      No. 12-cv-1364 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP was appointed class counsel and resolved this action on behalf of a class of Indiana loan officers
      who were paid on a commission-only basis and deprived of earned minimum wage and overtime in violation of the
      FLSA.

      Searson v. Concord Mortgage Corporation •                                                11/19/12 - Final Approval
      No. 07-cv-3909 (United States District Court for the Eastern District of New York)
      Stephan Zouras, LLP achieved a settlement on behalf of a class of 80 loan officers deprived of minimum wages and
      overtime in violation of the FLSA.

      Eilenbecker, et al. v. North Star Cable Construction, Inc., et al.                         11/14/12 - Final Approval
      No. 09-cv-7293 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP obtained Rule 23 certification, were appointed lead counsel, and achieved a significant monetary
      resolution for a class of several hundred cable technicians seeking unpaid overtime wages and the recovery of improper
      deductions from their pay.

      Williams, et al. v. Securitas Security Services USA, Inc.         ,                        11/8/12 - Final Approval
      No. 10-cv-7181 (United States District Court for the Eastern District of Pennsylvania)
      As lead class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a class of Pennsylvania security guards
      who were not paid for all time spent in training and orientation.

      Lacy, et al. v. The University of Chicago Medical Center                                 11/6/12 - Final Approval
      No. 11-cv-5268 (United States District Court for the Northern District of Illinois)
      As lead class counsel, Stephan Zouras, LLP achieved a FLSA settlement for a collective class of hospital respiratory
      therapists.




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CO    Molyneux, ef al. v. Securitas Security Services USA, Inc.                                   11/5/12 - Final Approval
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X     No. 10-cv-588 (United States District Court for the Southern District of Iowa)
o
O)    As lead class counsel, Stephan Zouras achieved a settlement on behalf of a class of Iowa and Wisconsin security guards
8     who were not paid for all time spent in training and orientation.

1r-   Davis v. TP! Iowa, LLC                                                                         9/6/12 - Final Approval
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      No. 11-cv-233 (United States District Court for the Southern District of Iowa)
CT)   As class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a collective class of production employees.
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      Kernats, et al. v. Comcast Corporation                                                       5/28/12 - Final Approval
CO
      Mo. 09-cv-3368 (United States District Court for the Northern District of Illinois)
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<     As lead class counsel, Stephan Zouras, LLP achieved a seven-figure settlement on behalf of over 7,500 Customer Account
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O     Representatives (CAEs) for unpaid wages in a Rule 23 class action brought under Illinois wage law.
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      Garcia, et al. v. Loffredo Fresh Produce Co., Inc.                                       5/24/12 - Final Approval
      No. 11-cv-249 (United States District Court for the Southern District of Iowa)
      As class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a collective class of produce processing
      employees.


      Larsen, et al. v. Clearchoice Mobility, Inc., et al.                                           3/21/12 - Final Approval
      No. 11-cv-1701 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP achieved an FLSA settlement on behalf of a collective class of retail sales consultants.

      Etter v. Trinity Structural Towers                                                            1/26/12 - Final Approval
      No. 11-cv-249 (United States District Court for the Southern District of Iowa)
      As class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a collective class of production employees.

      Petersen, et al v. Marsh USA, Inc. et al.      .                                            9/21/11 - Final Approval
      No. 10-cv-1506 (United States District Court for the Northern District of Illinois)
      Stephan Zouras, LLP achieved a six-figure settlement on behalf of over 30 analysts who claimed they were misclassified
      under the FLSA.

      Thompson v. World Alliance Financial Corp.                                                  8/5/11 - Final Approval
      No. 08-cv-4951 (United States District Court for the Eastern District of New York)
      Stephan Zouras, LLP were appointed lead counsel and achieved a settlement on behalf of a class of over one hundred
      loan officers deprived of minimum wages and overtime in violation of federal and state law.

      Vaughan v. Mortgage Source LLC, et al.                                                      6/16/11 - Final Approval
      No. 08-cv-4737 (United States District Court for the Eastern District of New York)
      Stephan Zouras, LLP were appointed lead counsel and achieved a settlement on behalf of a class of loan officers deprived
      of minimum wages and overtime in violation of federal and state law.

      Harris, et al. v. Cheddar's Casual Cafe, Inc.                                                 6/1/11 - Final Approval
      No. 51 460 00557 10 (AAA Arbitration)
      Stephan Zouras served as lead counsel in six-figure class settlement on behalf of over 100 restaurant workers deprived
      of minimum wages and overtime.




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      STEPHANZOURAS
                                                                                                   100 North Riverside Piaza, Suite 2150
                                                                                                                  Chicago, Illinois 80606
                                                                                                        P 312-233-1550 | F 312-233-1560
      ATTORNEYS AT LAW                                                                                              steph8nzouris.com



8     Turner v. Mercy Health System
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                                                                                                   4/20/11 - Final Approval
O
X     Mo. 0801-3670 (Philadelphia Court of Common Pleas)
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CT>   The firm's attorneys served as co-lead counsel in this lawsuit which challenged Defendant's workweek averaging
8     practices and, in a case of first impression, recovered $2,750,000 in unpaid overtime wages for hospital workers.
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      Brown et aS. v. Vision Works, et al.                                                           3/4/11 - Final Approval
(N    No. 10-cv-O1130 (United States District Court for the Northern District of Illinois)
O)
      As lead class counsel, Stephan Zouras, LLP achieved a settlement on behalf of retail store managers improperly classified
o
C!    as exempt from overtime.
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ui    Havard v. Osceola Foods, Inc., et al.                                                      2/28/11 - Final Approval
<     No. LA CV 0111290 (Iowa District for Clarke County, Iowa)
Q
O     As lead class counsel, Stephan Zouras, LLP achieved a class settlement on behalf of meat processing plant employees
LU
LL
      who were not properly paid for donning and doffing activities performed before their shifts, during meal breaks and
      after their shifts.

      Lagunas v. Cargitl Meat Solutions Corp.                                                     1/27/11 - Final Approval
      No. 10-cv-00220 (United States District Court for the Southern District of Iowa)
      Stephan Zouras, LLP served as co-lead counsel in class settlement on behalf of meat processing plant employees who
      were not properly paid for donning and doffing activities performed before their shifts, during meal breaks and after
      their shifts.            .

      Anderson v. JCG Industries, Inc.                                                           9/2/10 - Final Approval
      No. 09-cv-1733 (United States District Court for the Northern District of Illinois)
      As lead class counsel, Stephan Zouras, LLP achieved a six-figure settlement on behalf of meat processing plant
      employees who were not properly paid for time worked before their shifts, during meal breaks and after their shifts.

      Cedeno, et al. v. Home Mortgage Desk, Corp., et al.                                       6/15/10 - Final Approval
      No. 08-cv-1168 (United States District Court for the Eastern District of New York)
      Stephan Zouras, LLP along with co-counsel was appointed lead counsel and achieved a six-figure settlement on behalf
      of a Section 216(b) collective class of loan officers deprived of overtime wages.

      Perkins, et al. v. Specialty Construction Brands, Inc.                                     11/15/09 - Final Approval
      No. 09-cv-1678 (United States District Court for the Northern District of Illinois)
      As lead class counsel, Stephan Zouras, LLP achieved a six-figure wage and hour settlement on behalf of a collective class
      of plant employees for claims of unpaid overtime, including time worked before the start of their shifts, during breaks
      and after the end of their shifts.

      Wineland, et al. v. Casey's General Stores, Inc.                                                10/22/09 - Final Approval
      No. 08-CV-00020 (United States District Court for the Southern District of Iowa)
      Stephan Zouras, LLP along with co-counsel was appointed lead counsel and achieved a seven-figure settlement on
      behalf of a Section 216(b) collective class and Rule 23 class of over 10,000 cooks and cashiers for unpaid wages, including
      time worked before and after their scheduled shifts and while off-the-clock.

      Jones, et al. v. Casey's General Stores, Inc.                                                 10/22/09 - Final Approval
      No. 07-cv-400 (United States District Court for the Southern District of Iowa)




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          STEPHANZOURAS
                                                                                                    100 North Riverside Plaza, Suite 2150
                                                                                                                  Chicago, Illinois 80606
                                                         1                                              P 312-233-1550 | F312-233-1560
          ATTORNEYS AT LAW                                                                                           stephanzouras.com


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8     Stephan Zouras, LLP along with co-counsel was appointed lead counsel and achieved a seven-figure settlement on
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x     behalf of a Section 2 I 6(b) collective class and Rule 23 class of assistant store managers for unpaid wages, including
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      time worked before and after their scheduled shifts and while off-the-clock.
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      Stuart, et al. v. College Park, et al.                              .                         12/11/07 - Final Approval
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      Mo. OS CH 09699 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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      The firm's partners served as co-lead counsel in this case brought on behalf of a class of tenants who were seeking the
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      refund of their security deposits. As a result of their efforts, Mr. Stephan and Mr. Zouras helped achieve a six-figure
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      settlement on behalf of a class of over 100 tenants.
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ui    Huebner et al. v. Graham C Stores                                                          11/15/07-Final Approval
<     No. OS CH 03695 (Circuit Court of Cook County, Chancery Division, Stats of Illinois)
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UJ    Ryan Stephan of Stephan Zouras, LLP served as co-lead counsel in this wage and hour case involving claims for unpaid
1I    wages by a class of gas station employees. Mr. Stephan helped achieve a six-figure settlement for over 100 employees.

      Perez, et al. v. RadioShack Corporation                                                        9/14/07 - Final Approval
      No. Q2-cv-7&84 (United States District Court for Northern District of Illinois)
      The firm's partners served as co-lead counsel in this nationwide Fair Labor Standards Act ("FLSA") overtime action
      brought on behalf of 4,000 retail store managers. Plaintiffs claimed they were improperly classified as exempt from the
      FLSA and owed overtime compensation for all hours worked in excess of 40 each week. In a case of first impression, the
      Court granted summary judgment in favor of a sub-class of Plaintiffs who did not "regularly and customarily" supervise
      at least 80 hours of subordinate time per week at least 80% of the time as required by the executive exemption of the
      FLSA. The reported decision is Perez i/. RadioShack Corp., 386 F. Supp. 979 (N.D. III. 2005). As a result of the efforts of
      Plaintiffs' counsel, Plaintiffs obtained a nearly $9 million settlement on the eve of trial.

      Reinsmith, et al. v. Castlepoint Mortgage                                                          4/3/07 - Final Approval
      No. 05-cv-01168 (United States District Court, Eastern District of Massachusetts)
      The firm's partners served as co-lead counsel in this action brought on behalf of a collective class of loan officers seeking
      to recover unpaid overtime. Mr. Stephan and Mr. Zouras'helped achieve a seven-figure settlement on behalf of over
      100 loan officers in this case.

      Kutcher, et al. v. B&A Associates                                                           11/20/06 - Final Approval
      No. 03 CH 07610 (Circuit Court of Cook County, Chancery Division, State of Illinois)
      The firm's partners served as co-lead counsel in this case brought on behalf of a class of tenants who were seeking
      damages based on alleged security deposit violations. As a result of their efforts, Mr. Stephan and Mr. Zouras helped
      achieve a six-figure settlement on behalf of a class of over 100 tenants.

      Ciesla, et al. v. Lucent Technologies, Inc.                                                     7/31/06 - Final Approval
      No. 05-cv-1641 (United States District Court for the Northern District of Illinois)
      The firm's partners served as co-lead counsel in this breach of contract class action against a high-tech communications
      company. Mr. Stephan and Mr. Zouras helped obtain a seven-figure.settlement on behalf of the class.

      Casale, et al. v. Provident Bank                                                                7/25/05 - Final Approval
      No. 04-cv-2009 (United States District Court for the District of New Jersey)
      The firm's partners served as co-lead counsel in this case brought on behalf of a collective class of over 100 loan officers




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      STEPHANZOURAS
                                                                                               100 North Riverside Plaza, Suite 2150
                                                                                                             Chicago, Illinois 60606
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      who were seeking damages based on wage and hour violations of the FLSA. As a result of their efforts, Mr. Stephan and
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X     Mr. Zouras helped achieve a seven-figure settlement on behalf of the Plaintiffs.
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CM    Corbin, et at v. Barry Realty                                                                 3/22/05 - Final Approval
5     No. 02 CH 16003 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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f-    The firm's partners served as co-lead counsel in this case brought on behalf of a class of tenants who were seeking the
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      refund and interest on their security deposits as called for by the Chicago Residential Landlord Tenant Ordinance. As a
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      result of their efforts, Mr. Stephan and Mr. Zouras helped achieve a six-figure settlement on behalf of a class of over
      100 tenants.
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                            BtOMETRIC INFORMATION PRIVACY CLASS ACTION LAWSUITS
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1)    Our firm is at the forefront of BIPA litigation to protect the biometric data and privacy of employees and
      consumers. We have brought numerous class action lawsuits against employers and other retail businesses
      who have collected biometric data without consent and without instituting the proper safeguards including;

                   Battles, et al v. Southwest Airlines Co., et a!.           '
                   No. 2018-CH-09376 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Hello, et al. v. The Pare at Joliet, LLC
                   No. 2018-CH-1888 (Circuit Court of Will County, State of Illinois)
                   Brown, et al. v. Weathertech
                   No. 2019-CH-00503 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Bryant, et al. v. Loews Chicago Hotel, Inc., et al.
                   No. 2018-CH-09477 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Bryski, et al. v. Nemera Buffalo Grove, LLC, et al.
                   No. 2018-CH-07264 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Cacy, et al. v. Agco Corporation, et al.
                   No. 2018-CH-09968 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Cameron, et al. v. Polar Tech Industries, Inc., et al.
                   No. 2018-CH-10001 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Chatman, et al. v. Crate and Barrel                        .
                   No. 2018-CH-09277 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Cothron v. White Castle, et al.
                   No. 2018-CH-15233 (Circuit Court of Cook County, Chancery Division)
                   Crooms, et al. v. Southwest Airlines
                   No. 2019-CH-01610 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Diaz, et al. v. Silver Cross Hospital
                   No. 2018-CH-1327 (Circuit Court of Will County, State of Illinois)
                   Doporcyk, et al. v. Mariano's             '
                   No. 17-cv-05250 (United States District Court for the Northern District of Illinois)
                   Dixon, et al. v. Smith Senior Living
                   No. 17-cv-08033 (United States District Court for the Northern District of Illinois)
                   Edmond, et al. v. DPI Specialty Foods, Inc., et al.
                   No. 2018-CH-09S73 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                   Fields, et al. v. Abra Auto Body & Glass




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      STEPHANZOURAS
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      ATTORNEYS AT LAW                                                                                         stephRiuouras.com



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CO
                  No. 17-CH-12271 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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X                 Figueroa, el al. v. Tony's Fresh Market, et al.
o
05                 No. 2018-CH-15728 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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CM                George, et al. v. Marriot International, Inc., et al.
2                 No. 2018-CH-04413 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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                  Goings, et al. v. Applied Acoustics
csi               No. 17-CH-14954 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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                  Heard, et al. v. St. Bernard Hospital, et al.
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                  No. 2017-CH-16828 (Circuit Court of Cook County, Chancery Division, State of Illinois)
5                 Heard, et al v. THC-North Shore, Inc.
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ili               No. 2017-CH-16918 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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                  Henderson, et al. v. ADP, LLC, et al.
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Q                 No. 2018-CH-07139 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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LL                Jackson, et al. v. A. Finkl & Sons, Co., et al.
                  No. 2018-CH-07424 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Johns, et al. v. Club Fitness of Alton, LLC
                  No. 2018-L-000080 (Circuit Court of Madison County, Law Division, State of Illinois)
                  Johnson, et al. v. Gold Standard Baking, Inc., et al.
                  No. 2018-CH-09011 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Jones, et al. v. Hooters Management Corporation, et al.
                  No. 2018-Ch-Q0908 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Kane, et at. v. Con-Tech Lighting, et al.
                  No. 2018-CH-12194 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Kardos, et al. v. ABT Electronics, Inc.
                  No. 2019-CH-0123S (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Krause, et al. v. Caputo's New Farm Produce, et al.
                  No. 2018-Ch-11660 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Liu, et al. v. Four Seasons
                  No. 17-CH-14949 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Mazya, et al. v. Northwestern Lake Forest Hospital, et al.
                  No. 2018-CH-07161 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Mims, et al. v. Hilton
                  No. 17-CH-15781 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Morris, et al. v. Imperial Towers Condominium Assn.
                  No. 2018-CH-00989 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Morris, et al. v. Wow Bao
                  No. 17-CH-12029 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Mosby, et al. v. The Ingalls Memorial Hospital, et al.
                  No. 2018-CH-05031 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Ogen, et al. v. Wyndham Hotels & Resorts
                  No. 17-CH-15626 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Peaks-Smith, et al. v. Saint Anthony Hospital, et al.
                  No. 2018-CH-07077 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Ramsey, et al. v. Daley's Medical Transportation, Inc.
                  No. 2018-CH-01935 (Circuit Court of Cook County, Chancery Division, State of Illinois)
                  Robertson, et al. v. Hostmark Hospitality Group, Inc., et al.




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      STEPHANZOURAS
                                                                                          111 North Riverside Plaza, Suite 2150
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          ATTORNEYS AT LAW                                                                                 stephmizourascom




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CD             No. 2018-CH-0S194 (Circuit Court of Cook County, Chancery Division, State of Illinois)
CO
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X              Sanchez, et al v. Elite Labor Services
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               No. 2018-CH-02651 (Circuit Court of Cook County, Chancery Division, State of Illinois)
CM             Stidwell, et al. v. NFI, LLC, et al.
2              No. 2018-CH-13599 (Circuit Court of Cook County, Chancery Division, State of Illinois)
Q_
N-             Tellado, et al. v. Rich Products Corporation, et al.
cvi            No. 2018-CH-07627 (Circuit Court of Cook County, Chancery Division, State of Illinois)
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               Thome, et al. v. Flexicorps, Inc.
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               No. 2018-CH-01751 (Circuit Court of Cook County, Chancery Division)
CO             Thurman, et al. v. Northshore University HealthSystem
lii            No. 2018-CH-03544 (Circuit Court of Cook County, Chancery Division)
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<              Tread well, et al. v. Power Solutions International, Inc., et al.
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               No. 2018-CH-13574 (Circuit Court of Cook County, Chancery Division)
LL             Watts, et al. v. Chicago lakeshore Hospital
               No. 17-cv-07713 (United States District Court for the Northern District of Illinois)
               White v. East Side Child Development Center, et al.
               No. 2018-CH-09599 (Circuit Court of Cook County, Chancery Division)




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    Hearing Da         No hearing scheduled           Scott Wriggelsworth                                         Andrew Bouck
    CourtrooWE         r »^"
                        |       hearing scheduled             Sheriff                                                  Undersheriff

                 i.:   ""^35
                                        INGHAM COUNTY SHERIFFS OFFICE- CIVIL DIVISION
           ^'elSi      /S
                                                                                                                          FILED
8                                                                                  George Lammers                         4/5/2019 11:45 AM
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o
                                                                                      Deputy Sheriff                      DOROTHY BROWN
I
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?!     AFFIDAVIT OF SERVICE                      P.O. BOX 456 • HOLT, MICHIGAN 48842 • TELEPHONE
8      STATE OF MICHIGAN                                                                                               '  2019CH03620
1                L the undersigned Deputy Sheriff for the said County, being first duly sworn on oath do hereby state that
                 1 received the following:
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                       •     SUMMONS
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                 on the          29th   day of      March                    2019, andI certify that I:
ill
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<                served the same on the Defendants:       Dakkota Integrated Systems LLC
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yj               by means of: P     ^ (              ; c -«
n                at      1875 Holloway Dr, Holt. MI 48842           in Ingham County.
                 State of Michigan ^
                 at /WT P.m. on hrv           the                            day of   Mayc-U                       20 If,
                 After diligent search and inquiry, I have been unable to find and serve the following
                 cl e fen dant (s):   _____                                                    _

                 I have made the following efforts in attempts to serve process:



                 1 have personally attempted to serve the process together with
                                                                 on
                                                                 at                                                          and have been
                 unable to complete service because the address was incorrect at the time of filing.


              District 1 Court, Cook County, State of Illinois
              Case No, 2019CH03620        '
              IWven Fox vs.  Dakkata Integrated Systems, LLC


           George idmmers - Deputy Sheriff                                                      Dale Signed
       Ingham County Sheriff's Office - Civil Division
       SUBSCRIBED AND SWORN TO BEFORE ME, AJ4QTARY PUBLIC FOR SAID COUNTY AND STATE
       ON DilS  2.^   DAY, OF               2^9.            V^     r    ANDREWWiTT
                                                                                                              NOTARY PUBLIC - STATE OF IflfCHKSAN
                                                                                                              „             COUNTY OF INGHAM
                                                                                                                  Mv                  ^bruary 27, 2021
                                                          NOTARY PUBLIC
                 (Nolary Sea!)
                 I acknowledge that I have received service of the                                                together with
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                                                                on behalf of 1>q !<                           r   *     S    y   Aer*- L LC-
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                                     CERTIFICATE OF SERVICE

S            I, the attorney, hereby certify that on April 5, 2019, I electronically filed the attached
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      with the Clerk of the Court using the ECF system which will send such filing to all attorneys
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2     of record.
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8                                                                A'/ Ryan F. Stephart
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LL
                                           Appearance                                                                                               (12/30/15) CCL N530
                      Hearing Date: 4/8/2019 10:00 AM - 10:00 AM
                      Courtroom Number: N/A
                                                                                                                                                    FILED
                      Location: District 1 Court     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                                                  4/5/2019 5:34 PM
                              Cook County, IL
                                                                                   COUNTY DEPARTMENT, CHANCERY DIVISION                             DOROTHY BROWN
                                                                                                                                                    CIRCUIT CLERK
                                                                                                                                                    COOK COUNTY, IL
FILED DATE: 4/5/2019 5:34 PM 2019CH03620




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                                           5$9(1 )2; LQGLYLGXDOO\ DQG RQ EHKDOI RI DOO RWKHUV VLPLODUO\ VLWXDWHG
                                           ____________________________________________________
                                                                                                          Plaintiff        &+
                                                                              v.                                       No. ______________________________________

                                                                                                                                  10
                                                                                                                       Calendar: _________________________________
                                           '$..27$ ,17(*5$7(' 6<67(06 //&
                                           ____________________________________________________
                                                                                                      Defendant



                                                                                                         APPEARANCE

                                           
                                           ✔ GENERAL APPEARANCE                                0900 - APPEARANCE - FEE PAID; 0909 - APPEARANCE - NO FEE;
                                                                                               0904 - APPEARANCE FILED - FEE WAIVED

                                            JURY DEMAND                                       1900 - APPEARANCE & JURY DEMAND - FEE PAID
                                                                                               1909 - APPEARANCE & JURY DEMAND - NO FEE

                                           The undersigned enters the appearance of:                            Plaintiff       Defendant
                                                                                                                                  ✔



                                            'DNNRWD ,QWHJUDWHG 6\VWHPV //&
                                           _________________________________________________________________________________________________


                                           _________________________________________________________________________________________________
                                                                                   (Insert litigant’s name.)

                                                                                                                             ________________________________________
                                                                                                                                              Signature
                                                    
                                                    ✔
                                                      INITIAL COUNSEL OF RECORD                                  PRO SE
                                                     ADDITIONAL APPEARANCE                                      SUBSTITUTE APPEARANCE
                                                   A copy of this appearance shall be given to all parties who have appeared and have not been found by the
                                           Court to be in default.
                                                          
                                            ✔ Atty. No.: ________________           Pro Se 99500
                                           (Please complete the following contact information.)
                                                    6KRRN +DUG\ %DFRQ //3
                                           Name: _____________________________________                    Pro Se Only:  I have read and agree to the terms of
                                                                                                          the Clerk’s Office Electronic Notice Policy and choose
                                           Atty. for: 'DNNRWD ,QWHJUDWHG 6\VWHPV //&
                                                       ___________________________________
                                                                                                          to opt in to electronic notice from the Clerk’s office for
                                                       6 :DFNHU 'U
                                           Address: ____________________________________                  this case at this email address:
                                                             &KLFDJR ,/ 
                                           City/State/Zip: _______________________________
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                                           Secondary Email: _____________________________
                                           Tertiary Email: _______________________________


                                                     DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                                               Page 1 of 1
